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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


TELCORDIA TECHNOLOGIES, INC.,                    )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )      Civil Action No.            4 -     8 7 6
                                                 )
CISCO SYSTEMS, INC.,                             )
                                                 )
                       Defendant.                )


                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Telcordia Technologies, Inc. ("TELCORDIA") hereby sues Cisco Systems, Inc.

("CISCO") for infringing U.S. Patent Nos. 4,893,306 ("the '306 patent")      J     d Re. 36,633 ("the

'633 patent"), and alleges as follows:

                                         THE PLAINTIFF

       1.      Plaintiff TELCORDIA is a corporation organized and existing under the laws of

Delaware, having a place of business at One Telcordia Drive, Piscataway, New Jersey 08854.

       2.      TELCORDIA is a provider of communications               softwar~,    engineering, and

consulting services throughout the United States, including in the District of elaware.

                                         THE DEFENDANT

       3.      Upon information and belief, defendant CISCO is a corp or tion organized and

existing under the laws of California, having a place of business at 170           est Tasman Drive,

San Jose, California 95134.

       4.      Upon information and belief, CISCO is a manufacturer of communication

network products that CISCO ships, distributes, sells, and/or offers for ale throughout the

United States, including in the District of Delaware.
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                                 JURISDICTION AND VENUE

         5.    The claims asserted in this Complaint arise under the Patent         aws of the United

States, 35 U.S.C. §§ 1-376.

         6.    Subject matter jurisdiction is proper under 28 U.S.C. §§ 1331

         7.    This Court has personal jurisdiction over CISCO.

         8.    Venue is proper under 28 U.S.C. §§ 1391 and 1400.

                    COUNT I: INFRINGEMENT OF THE '306 PATENT

         9.    TELCORDIA realleges and incorporates by reference eac               of paragraphs 1-8

above.

         10.   The '306 patent, entitled "Method and Apparatus for Multi lexing Circuit and

Packet Traffic," was lawfully issued by the United States Patent and Trade, ark Office ("PTO")

on January 9, 1990 to the inventors, Hung-Hsiang J. Chao, Sang H. Lee, and Liang T. Wu. The

'306 patent issued from U.S. Patent Application Serial No. 07/118,977, filed November 10,

1987. A copy of the '306 patent is attached as Exhibit A.

         11.   On its issuance, the '306 patent was assigned to Bell Commlilnications Research,

Inc. ("Bellcore"), which became TELCORDIA in 1999. TELCORDIA and Bellcore have at all

times since the '306 patent's issuance held the entire right, title, and interest · the patent.

         12.   Upon information and belief, CISCO has infringed one or mo~e claims of the '306

patent by making, using, offering for sale, selling, and/or importing into the United States

communication network products embodying the patented invention.

         13.   Upon information and belief, CISCO has infringed one or mo e claims of the '306

patent by inducing others to infringe the patent and/or contributing to the p tent's infringement

by others.




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         14.    As a consequence of CISCO's infringement of the '306 paten, TELCORDIA has

been damaged in an amount not yet determined.

         15.    Upon information and belief, CISCO's infringement of t e '306 patent will

continue in the future, and TELCORDIA will continue to suffer damage as a consequence,

unless CISCO's infringing acts are enjoined by this Court.

         16.    Upon information and belief, CISCO's infringement of the '306 patent has been,

and continues to be, willful.

                    COUNT II: INFRINGEMENT OF THE '633 PATENt
                                                                               I
         17.    TELCORDIA realleges and incorporates by reference each of paragraphs 1-16

above.

         18.    The '633 patent, entitled "Synchronous Residual Time Stamp for Timing

Recovery in a Broadband Network," was lawfully issued by the PTO on March 28, 2000 to the

inventors, Paul E. Fleischer and Chi-Leung Lau.            The '633 patent issued from U.S. Patent
                                                                               I
Application Serial No. 08/555,196, filed November 8, 1995.           A copy of the '633 patent is

attached as Exhibit B.

         19.    On its Issuance, the '633 patent was assigned to Bellcore, which became

TELCORDIA in 1999. TELCORDIA and Bellcore have at all times sin e the '633 patent's

issuance held the entire right, title, and interest in the patent.

         20.    Upon information and belief, CISCO has infringed one or mo e claims of the '633

patent by making, using, offering for sale, selling, and/or importing int          the United States

communication network products embodying the patented invention.

         21.    Upon information and belief, CISCO has infringed one or mo e claims of the '633

patent by inducing others to infringe the patent and/or contributing to the   ~ atent's   infringement

by others.


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                22.     As a consequence of CISCO's infringement of the '633 patent, TELCORDIA has

        been damaged in an amount not yet determined.

                23.     Upon information and belief, CISCO's infringement of      t~e   '633 patent will

        continue in the future, and TELCORDIA will continue to suffer damages as a consequence,

        unless CISCO's infringing acts are enjoined by this Court.

                24.     Upon information and belief, CISCO's infringement of the '633 patent has been,

        and continues to be, willful.

                                                   JURY DEMAND

                25.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, TELCORDIA

        requests a trial by jury for all issues so triable.

                                               PRAYER FOR RELIEF

                WHEREFORE, TELCORDIA respectfully requests that the Court enter judgment against

        CISCO:

                A.      determining that CISCO has infringed one or more claims of the '306 and '633

        patents;

                B.      permanently enJOining CISCO, its officers, agents, servants, employees, and

        attorneys, and all those persons in active concert or participation with them or any of them who

        receive actual notice of the judgment, from further infringing any claim of the '306 and '633

        patents;

                C.      ordering CISCO to account for and pay to TELCORDIA all damages suffered by

        TELCORDIA as a consequence of CISCO's infringement of the '306 and '633 patents;

                D.      awarding TELCORDIA prejudgment and post-judgment interest on the damages

        suffered by it as a consequence of CISCO's infringement of the '306 and '633 patents;




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                   E.     trebling TELCORDIA's damages under 35 U.S .C. § 284 on the ground that

            CISCO's infringement of the '306 and '633 patents was deliberate and willful;

                   F.     finding that this is an exceptional case under 35 U.S.C. § 285 and awarding

            TELCORDIA its reasonable attorney fees; and

                   G.     granting TELCORDIA such other and further relief as the Court may deem just

            and proper.




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                                                               Attorneys for Plaintiff
                                                               Telcordia Technologies, Inc.

            Dated: July 16, 2004




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     United States Patent                                                       £191                       [11]   Patent Number:              4,893,306
     Chao et al.                                                                                           [45]   Date of Patent:            Jan.9, 1990

     (54)       METHOD AND APPARATUS FOR                                                            Technology", Proc. 1986, International Zurich Seminar
                MULTIPLEXING CIRCUIT AND PACKET                                                     on Digital Communications, pp. 136-138.
                TRAFFIC                                                                             W. W. Chu, "A Study of Asynchronous Tune Division
     (75] Inventors: Hung-Hsialig J. Chao, Madison; Sang                                            Multiplexing for Time Sharing Computer Systems",
                     H. Lee, Bridgewater; Liaag T. Wu,                                              Proc. AFIPS, vol 35, pp. ~9-678, 1969.
                     Gladstone, all of N.J.                                                         A. Thomas; et al., "Asynchronous Time Division Tech-
                                                                                                    niques: An Experimental Packet Network Integrating
     (73] Assignee: Bell Communlcatfoas Research, Inc.,                                             Video Communication", Proc. International Switching
                     Livingston, NJ.
                                                                                                    Symposium, May 1984.
     [21] Appl. No.: 118,917
     [22] Filed:         No'f. 10, 1981                                                             Primary Examiner-Douglas W. Olms
                                                                                                    Assistant Examinei'-Min Jung
     [Sl] Int. a.• ............................ H04J 3/16; H04J 3/26                                Attorney, Agent. or Firm-James W. Falk
     (S21 u.s. a ...................................... 370/94.2; 370/84;
                                                         370/99; 370/112
     [S8] Field of Search ....................... 370/94, 60, 84, 99,                               [57]                  ABSTRACI
                                                        370/111, 112, 82, 110.1, 89                 A data transmission technique referred to herein as
     [56]                                 References Qted                                           Dynamic Time Division Multiplexing (DTDM) is dis-
                                                                                                    closed along with a set of multiplexers and demultiplex-
                             U.S. .PATENT DOCUMENTS                                                 ers required to apply DTDM in an actual telecommuni-
           4,321,703             3/1982         Schwiiertz et aL ................... 370/89         cations network. The DTDM·technique uses a transmis-
           4,516,240             5/1985         Kume et a1. .......................... 370/94       sion format which is Compatible with the existing digital
           4,594,708             6/1986         Serve! ct al........................... 370/94      circuit transmission format and the packet transmission
           4,685,105             8/1987         Sbikama et a1. ...................... 370/89
                                                                                                    format. so that DTDM is able to handle the transmission
           4,706,246            11/1987         K.ume .................................... 370/89
           4,763,319             8/1988         Rozenblit .............................. 370/89     of circuit and packet traffic. Thus, DTDM provides a
           4,764,921             8/1988         Graves et al..................... 370/110.1         flexible migration strategy between present circuit net-
         . 4,771,425             9/1988         Baran et a1. ................... ~. 370/110.1       works and future broadband packet networks.
                 OTHER PUBLICATIONS
     R. W. Muise, et al., "Experiments in Wideband Packet                                                          7 Oaims, 10 Drawing Sheets




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               U.S. Patent          Jan. 9, 1990                Sheet 6 oflO                                                                                       4,893,306
                              FIG. 7                                                                                                                                           97
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                                                                                               1-l                ~


                                                                   USER
                   CLOCK
                     IN
                                                    I   c=     >READ/NRITE ·
                                                                   STROBES
                                                              20                                                  00
                                                                                                                  r,...
                                                                                                                  ......

                                                                                  PARALLEL .
                                                                                                                  =
                                                                                                                  ~
                                                                                    BUS                           .....
                                                                                                                  =
                                                                                                                 ..,..r;..
                                                                                                                  QC
                                                                                                                  ~
                                                                                                                 ~
                                                                                                                 C\
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                                                           4,893,306
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                                                                    TOM is~ each data stream comprises frames which
                  METHOD AND APPARATUS FOR                          arc subdivided into slots. Corresponding slots in each
            MULTIPLEXING CIRCUIT AND PACKET                         frame are allocated to specific connections. For exam-
                              TRAFFIC                               ple, the first slot in each frame is allocated to one spe-
                                                                 s cific connection and the second slot in each frame is
                    RELATED APPLICATIONS                            allocated to a second connection, etc. Each frame also
        The following applications contain subject matter           includes a field which contains transmission overhead
      related to the subject matter of the present application,     information including frame synchronization words and.
      arc assigned to the assignee hereof and have been filed       control words. This traditional circuit transmission for•
      on the same date as the present application.              10 mat can be extended to multiple bit rate services by
         1. J. J. Chao, "DTDM Multipl~er With Cross-Point           allocating multiple slots in each ~e to high band-
            Switch", Ser. No. 118,979, now U.S. Pat. No.            width services. In such circuit transmission systems, a
            4,855,999, issued Aug. 8, 1989                .         combination of space division switching and time divi-
        2. M. W. Beckner, F. D. Porter, K. Shu, ''DTDM             sion switching is utilized at the network switches to
            Multiplexing Circuitry'',_ Ser. No. 118,897, now lS swap time slots between various bit streams so that
            U.S. Pat. No. 4,833,67!, issued ~~:r 23, 198.9         co~tions to and between specific subscn'bcrs are
        3. H. J. Chao, S. H. Lee, Tunc DiVlSlon Multiplexer        established.
            for DTDM Bit Streams'.', Ser. No. 118,978, now             Historically, the first digital circuit transmission sys-
            U.S. Pat. No. 4,833,673, ISSued May 23, 1989           tems were introduced during the 1960's. These first
        4. ~· W..Bcc~cr! ~; J. Chao, .T . J. Robe, L. S. Smoot, 20 digital circuit transmission systems were introduced in
             Framer ~t , Ser. No. 118,898, now U.S. Pat.           inter-office trunking applications to carry 24 voice
            No. 4,819,226, ISSued Apr. 4• 1989.                    channels by a single l.S44 Mb/sec digital stream. This is
                   FIELD OF THE INVENTION                          known as the DS-1 signal. Subsequently, the wide de-
        This ·invention relates to the transmission of data in 2.S ploymcnt of digit81 channel banb in the public tele-
     tclecommunications networks. More particularly, the            phone network required the multiplexing of several
     present invention relates to a data transmission tech-        DS-1 signals into a higher speed bit stream to efficiently
     nique referred to herein as Dynamic Time Division             utilize available ~on links. ~ the net~ork
     Multiplexing (DTDM), and a set of multiplexers and            ~w ~cr, ~n~wng effo~ to ef!ectively multiple_x
     demultiplexers required to apply DTDM in an actual 30 tributaries bavmg different btt rates mto a common btt
     telecommunications network. DTDM is capable of                stream resulted in the well-known hierarchical multi-
     effectively handling both circuit and packet traffic and      plexing plan comprising the DS-1 (1.544 Mb/sec),
     thus provides a migration strategy between the present        DS-1C (3.152 Mb/sec), DS-2 (6.312 Mbit/sec), DS-3
     circuit switched telephone network and the future · (44.736 Mb/sec) and DS4 274.176 Mb/scc signals.
     broadband packet switched network.                         35    Conventional circuit transmission systems suffer from
                                                                   a ~umber of shortcomings. Perhaps the most important
             BACKGROUND OF THE INVENTION                           problem is the multiplexing hierarchy itself. An impor-
        Presently, there are significant uncertainties when it     tant result of the hierarchy is an inherent lack oftlexibil-
     comes to predicting the future demand for broadband           ity. Since the network can only transmit the set of sig-
     telccommunications services such as high definition 40 nals in the hierarchy, every telecommunications service
     video and interactive data communications. This uncer-        has to meet the stringent interface requirement of given
     ~~ in the ~turc de~d. for br~adband tcleco~u-                 hierarchical signal bit rates, instead of the particular
     mcatio~ services has a stgnifican~ unpact o~ the destgn       service being able to transmit at its own natural bit rate.
     of public telephone ne~orks. FJ.I"St, ~o satisfy the.~-       Therefore, the packet mode of transmission which is
     kn~wn growth pattern m future servi~ demands, tt IS •s inherently bit rate flexible is favored for future broad-
     ~ble ~ hav~ a robust network dest~ that can be                band networks which are to be adapted to deliver en-
     ~Y modified m res~ to chan~es m demand for                    hanced telecommunication services such as high defini-
     particular telecommumcations scrvt~. Second, the              tion video and interactive data communications.
     network m~t be able to handle vastly differ~t types of           In contrast with circuit transmission systems which
     traffic rangmg from low speed data and votce to full so trans ·t data · ti                   bdi ·ded • t 1 ....        k t
     motion video. Third, depending on the demand for                    ~ .        m rames su. Vl • ~ 0 s o...., pac e
     widcband services, a network design must be capable of        transmisst~n systems transmit ~ta m discrete blocks or
     providing a migration strategy from existing copper           packets, With each packet havmg an. address header at
     wires and circuit tranSmission and switching facilities to    the front thereof. ~t ~e net~ork SWitc~es, packets .are
     optical fibers and · the sucCeeding generations of high ss routed from a spec~c mput.line to a ~~c output line,
     speed packet transmission and switching facilities,           based on ad~ress information contained m the packet
     which packet facilities are used in connection with the       h~er. In thts w_ay data ~ackets can be routed from!'"
     delivery of wideband telecommunications services.             par_ticular subscnber location, thr~ugh a tel~mmum-
     These three criteria determine the selection of the three     cations network, to another subscnber location. Packet
     major components of a network design: network topol- 60 transmission techniques and especially fast packet trans-
     ogy, transmission systems and switching systems. Here,        mission techniques (see e.g., R. W. Muise et al., "Expcr-
     the concern is primarily with transmission systems and        iments in Wideband Packet Technology", Proc 1986
     transmission techniques which meet the foregoing crite-       International Zurich Seminar on Digital Communica-
     ria.                                                          tions, pp. 136-138 arc inherently bandwidth flexible (i.e.
        Two important types of commercially used transmis- 6S the number of packets generated by a given service per
     sion systems are circuit systems and packet systems. · unit time is flexible) and thus are suitable for wideband
     Typically, circuit systems utilize time division multi-       enhanced communications services. Accordingly, it is
     plexing (TDM) as a transmission technique. When               desirable to introduce packet transmission technology
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    into the public telephone network. which up to now is          network to reconvert packets back into conventional
    based primarily on circuit transmission technology.            circuit time-slot format.
        The commonly-held view as to how to introduce                 In addition to circuit and packet transmission, an-
    packet technology into the public network is to deploy         other mode of digital transmission is known as Asyn-
    a packet overlay network because the existing network S        chronous Tune Division Multiplexing (ATDM). See
    is optimized for circuit transmission and is therefore         e.g., W. W. Chu 64A Study of Asynchronous Time Divi-
    incompatible with packet transmission techniques. Ac-          sion Multiplexing for TlDle Sharing Computer Sys-
    cordingly, many deployment strategies recommend                tems" Proc AFIPS Vol 3S, pp. 669-678, 1969 and A.
    constructing an overlay packet network for a set of            Thomas et al. "Asynchronous Time Division Tech-
    wideband services and hope that the migration of new 10        niques: An Experimental Packet Network Integrating
  · services to the packet overlay network will allow the          Video Communication" Proc International Switching
    existing circuit transmission network to be phased out         Symposium, May 1984. ATOM is used in connection
    slowly. The main advantage of a packet overlay net-            with continuous and bursty data traffic. ATOM uses
    work is the quick realization of an end-to-end network         channel identifiers with actual data to allow on-demand
    for new services. However, the approach requires a lS          multiplexing of data from subscnl>cr terminals with low ·
    large initial capital investment and increases operational     channel utilization. The channel identifiers and associ-
    cost by requiring the management of multiple separate          ated data form time slots. However, ATOM is bit rate
    networks.                                                      flexible since the appearance of packets can be asyn-
        lt is an object of the present invention to provide an     chronous. Slot timing is obtained from a special syn-
    alternate approach for introducing packet transmission 20      cbronization pattern which is inserted into unused time
    technology into the public telephone network, which            slots. Since the synchronization pattern appears only in
    approach requires the replacement of existing transmis-        unused time slots, A TOM cannot be used to carry exist-
    sian components but not the implementation of an en-           ing high speed hierarchical signals wherein the loading
    tirely new network. Thus, it is an object of the invention     is close to one hundred percent.
    to provide a digital data transmission system capable of 2S       In short, the situation is that the present public tele-
    handling both existing hierarchical circuit traffic and        phone network utilizes circuit transmission technology
    packet traffic.                                                and the associated time division multiplexing transmis-
        With regard to the above-identified objects of the         sion techniques, while future broadband services, the
    invention, it should be noted that recent advances in          demand for which is presently uncertain, are best of-
    network switch designs have blurred the distinction 30         fered using packet transmission technology. It is there-
    between packet networks and circuit networks. A typi-          fore an object of the invention to provide a transmission
    cal switch for use in a telecommunications network has         system which is capable of integrating present circuit
    three major components: control processor, switch ·            traffic with future packet traffic so as to provide a flexi-
    interfaces, and interconnection network. The control           ble migration strategy from the existing copper wire ·
    processor handles call set-up and tear-down, mainte- 3S        based circuit network to succeeding generations of high
    nance and administrative functions. The switch inter-          bandwidth packet transmission networks.
    faces convert ~mission formats (i~., ~e format data                      SUMMARY OF 1HB INVENTION
    has when transmitted between SWitching nodes) to
    switch formats (i.e., the format data has when processed          The digital network transport system of the present
    within switching nodes). The interconnection network 40        invention, referred to herein as Dynamic TlDle Division
    routes information blocks from specific input lines to         Multiplexing (DTOM), is a flexible network transport
    specific output lines of the switch. For the existing          system capable of effectively handling both circuit and
    digital circuit systems used in the public telephone net-      packet traffic. By combining conventional time division
    work, the information in a specific time slot on an in-        multiplexing techniques and packet transmission tech-
    coming line is transferred, via the switch, to a specific 4S   niques, DTDM enables a flexible transition from the
    time slot on an outgoing line. Thus, the interconnection       existing circuit type networks to future broadband
    network serves as a crossconnect for the incoming sig-         packet transmission networks.
    na1s on a slot-by-slot basis.                                     In a network utilizing DTOM, each transmission bit
        It has recently been sho~ (see e.g., Day-Giacopelli-       stream is divided into frames. These frames are the
    Huang-Wu, U.S. patent application Ser. No. 021,664 so          fundamental unit of data transport in DTOM. Each
    entitled Time Division Circuit Switch, filed on Mar. 4,        such frame comprises two fixed length fields: overhead
     1987, now U.S. Pat. No. 4,782,474, issued Nov. 1, 1988,       and payload. The overhead field includes, for example,
     and assigned to the assignee hereof) that a switch for use    a frame alignment word for frame timing and the emp-
    in a circuit network can be built using a self-routing         ty/full status of the frame. The payload field of each ·
     packet interconnection network. An example of such a SS       frame may be filled with a data packet including header
     self-routing packet network is the Batcher-banyan net-        or a slot from a circuit transmission stream. Before a slot
     work. Based on the address headers associated with            from a circuit transmission stream can be inserted into
     fixed sized packets, the Batcher-banyan network routes        the payload field of a DTDM frame, it must first be
     a plurality of packets in parallel to specific destination    converted into a packet-like form with a header at its
     addresses (i.e., specific output lines) without internal 60   front. Viewed another way, each occupied DTOM
     collisions. Thus, to mimic the operation of the conven-       frame comprises a .transmission overhead field, a header
     tional time-space-time switches used in circuit net-          field, and a data field. Thus, the DTDM transmission
     works, switch interfaces are provided which perform           format is a combination of the circuit transmission for-
     the time slot interchange function and which are able to      mat and the packet transmission ·format
     insert headers in front of circuit slots to convert such 65      In the DTOM system, packet and circuit traffic can
     slots into packets for routing through the self-routing       be multiplexed through the same multiplexer. Thus,
     interconnection network and able to remove headers            such a multiplexer can have continuous circuit type
     from packets leaving the self-routing interconnection         tributaries and bursty packet tributaries. To multiplex
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           such diverse · traffic, a train of DTDM frames with               Details ·or the assemblers needed to form the basic
           empty payload fields is generated. This train has a bit         DTDM bit streams, the disassemblers needed to disas•
           rate which defines a basic backbone transmission rate           semble the basic DTDM bit streams. and the set of
         . for the DTDM transmission systein. Data in the form of          multiplexers and demultiplexers needed to implement
           packets or circuit slots with headers attached are in- 5        DTDM in an actual network arc described in detail
           scrted into the empty frames to form the DTDM bit               below along with a framer circuit which plays a signifi-
           stream.                                                         cant role in particular implementations of the assem-
              An appropriate analogy is as follows. The stream of          blers/disassemblers and multiplexers/demultiplexers.
           empty DTDM frames may be analogized to a train of
                                                                              BRIEF DESCRIPTION OF THE ORAWING
           empty freight cars. The empty . freight cars are then 10
           filled with data from the various tributaries which may            FIG. 1 schematically illustrates the DTDM transmis-
           havc been in circuit or packet format.                          sion format, in accordance with an illustrative embodi-
              IDustratively, a DTDM multiplexer may be used to             ment of the invention;
           merge traffic from three different communications                  FIG. 2 schcmatic9Uy illustrates the formation of a
           sources or tributaries into a single DTDM bit stream. 15        backbone DTDM, bit stream, in accordance with an
           These tributarieS may be a digital phone generating 64          illustrative embodiment of the invention;
           Kilobits/sec PCM voice, a graphics terminal sending                FIG. 3 schematically illustrates an end-to-end net-
          bursty data at I Megabit/sec, and a circuit transmission         work using DTDM, in accordance with an illustrative
           stream operating at the DS3 rate of about 45 Megabits/.         embodiment of the invention;
           sec. ruustratively, the bit rate of.the backbone DTDM 20           FIG. 4 illustrates an assembler for combining diverse
          bit stream is ISO Megabits which yields 144,000 frames           tributary data streams into a single DTOM strepm, in
           per second given a 130-bytc frame size. The available           accordance with an illUstrative embodiment of ·the .in-
           frames arc shared by the three tributaries by giving            vention; .                  .                       .
           higher priority to the circuit tributary, and allowing the         FIG. s. illustra~ a ~bier. for separating . a
           voice and graphics tributaries to contend on a first. 2'        DTDM bit stream mto diverse tributary data streams, m
           come,.first-served basis. The circuit tributary seizes one      ~dance with an illustrative embodiment of the in-
           out of every three empty frames passing by. Thus the            vention; .                    .                ..
           regularity of the circuit transmission will be maintained          FIG. 6 illustrates a multiplexer for combmmg a plu-
          throughout the DTOM transmission link. Dlustratively,            rality ?fDTDM bi~ streams into. a single more ~ly ·
                                                                      30
          the voice source is packetized by accumulating up to tS          occupied ~TOM bit stream ha~g the same bit. ~te;
          milliseconds worth of voice samples before inserting                FI~. 7 illustrates an. N:M multiplexer for combmmg a
          this information into an empty DTDM frame along                  plurality o~ DTDM bit s~                .    .           .
          with a header. In this case the voice tributary will on             FIG. 8 illustrates how the mput lines m the multi·
          average seize one out of every 2 160 frames. Similarly           plexer of FIG. 7 are grouped;
                                                                              FIG. 9 ill~tratcs a dem~tiplexer. for separa~g a
                                                                      3
           at a rate of 1 Megabit per second,' the graphics tribuau; s
          will fill one frame out of ISO. In this way, three diverse       densely occupted J?TOM bit       stt:cam.
                                                                                                                   mto a plurality of
          data streams arc multiplexed into a single bit stream.           less densely occupied DTDM btt streams;
              As a second ~pte, DTDM can be used as are-                      FIG: ~0 illustrates a multiplexer for point-to-point
          placement transmission technology to cany existing 40            transmission.                   .               .
          inter-office traffic. More specifically, consider the need        . FIG: 11 ~ustrates ~ demulti~le:"cr for use m connec-
          to multiplex and transmit three hierarchical signals at          tion With P?mt-to-point ~o~; and
          the DSl, DS2, and DS3 rates, respectively, for point-to- ·          FIG. U illustrates a framer CllCUlt.
          point transmission between two offices. The traditional                        DETAILED DESCRIPTION
          TOM approach would utilize a step-by-step hierarchi- -45
          cal approach to multiplex and to subsequently demulti-                       1. DTDM Transmission Format
          plex these signals. The conventional hierarchical multi-            DTDM .is an approach to data transport which can
          plexing scheme requires line conditioning and synchro-           handle both TOM hierarchical signals and packet traf-
          nization circuitry at each level of the hierarchy as well        fie in a common integrated structure, while allowing
          as hardware for bit interleaving.                           so   complete bit rate flexibility. As illustrated in FIG. 1, the
              In contrast, ushlg a DTOM multiplexer, time slots            transmiSsion bit stream is divided into frames 1. The
          from each of the three signalS would be inserted into the        DTOM ·frame is the fundamental unit of information
          empty frames in a basic DTOM backbone signai. If the             transport in the DTDM transmission scheme. The
          backbone signal is ISO megabits per second and com-              frames come one after the other so as to form a oontinu-
          priscs 144,000 frames per second, the DS3 signal would ss        ous chain or train.
          require one out of every three DTDM frames, the DS2                 Bach frame 1 comprises two fixed length fields desig-
          signal would require approximately one out of every              nated transmission overhead (I') and payload in FIG. 1.
          twenty-one DTDM frames and the DSl signal would                  Dlustratively, each frame comprises 130 bytes with 10
          require approximately one out of every eighty-four of            bytes being allocated to the transmission overhead field.
          the empty DTOM frames.                                .     60   Typically, the bit rate of the DTDM bit stream illus-
              In an actual network, the above-described DTDM               trated in FIG. 1 is about ISO Megabits/sec. The follow-
          streams at the basic backbone bit rate generally contain         ing information may be available in the overhead field
          empty frames; thus DTOM streams may be multiplexed               of every DTOM frame; frame alignment word for
          into more densely populated DTDM bit streams at the              frame timing, empty/full status of the frame, and span
          same bit rate. These more densely populated basic back- 6S       identification.
          bone rate bit streams may then be multiplexed· into                 As shown in FIG. 1, the payload field of each frame
          higher bit rate streams for .point-to-point inter-office         may be filled with a data.packet including a header (H)
           transmission.                                                   or a slot from a circuit transmission stream. However,
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                 before a slot from a circuit transmission stream can be              In the network 20, three multiplexing stages are re-
                 inserted into the payload field of a DTDM frame, it               quired to support end-to-end transport. In the user-net-
                 must first be converted to packet-like form by the inset-         work interface stage 30, an assembler 32 receives data
                 tion of a header (H) at its front Viewed another way,             streams on lines 21 from the customer premises equip-
                 each occupied DTDM frame comprises a transmi§ion s                ment 22 and combines these streams into a basic back-
                 overhead field, a header field, and an information field.         bone DTDM stream of the type discussed in connection
                 Thus, the DTDM transmission format is a combination               with FIGS. 1 and 2. Similarly, disassembler 34 tears
                 of the circuit transmission format and the packet trans-          apart a basic DTDM bit stream arriving on line 33 and
                 mission format. The packet header provides informa-               distributes the data to the appropriate customer prem-
                 tion such as channel number, line number, error detec- 10         ises equipment 22 via lines 23.
                 tion, etc. In general, only the information required in              As indicated above, the DTDM bit stream formed by
                 every frame gets permanent bandwidth allocation in the            the assembler 32 is not 100% occupied. Thus the multi-
                 transmission overhead field.                                      plexer 36 in the remote electronics stage 38 is used to
                     FIG. 2 schematically illustrates the formation of a           combine several DTDM bit streams arriving on lines 62
                 DTDM bit stream. The DTDM bit stream assembler 3 15               into a more densely occupied DTDM bit stream of the
                 can combine into a single bit stream both continuous              same bit rate to achieve greater transmission efficiency.
                 circuit tributaries and bursty packet tributaries. Three          Similarly, the demultiplexer 39 separates a densely pop-
                 such tributaries are illustrated in FlO. 2. They are: a           ulated DTDM bit stream arriving on line 120 into less
                 digital phone tributary 5 generating 64 Kilobits/sec              densely populated DTDM bit streams transmitted via
                 PCM voice, a tributary 7 from a graphics terminal send· 20        lines 33, so that the data contained therein can ulti-
                 ing bursty data at one megabit per second, and a circuit          mately be routed to the correct customer premises
                 transmission stream 9 operating at the DS3 rate of about          equipment.             ·
                 4S Megabits/sec. Each of the three tributaries has a                 In the point-to-point stage 40, a plurality of DTDM
                 characteristic shading in FIG. 2 so that it is possible to        bit streams arriving via lines 63, 1!0 are time division
                 follow bow data from the three tributaries is combined 2S         multiplexed by means of time division multiplexer 42
                 to form the DTDM bit stream.                                      for high speed point-tO.point transmission via line 165 to
                     To multiplex such diverse traffic, a train 10 of              a network switch (not shown). For example, the multi-
                 DTDM frames with empty payload fields is generated.               plexer 42 receives one DTDM stream via a line 63 from
                 This train 10 has a bit rate which defines a basic back-          multiplexer 36 and another DTDM stream via line 150.
                 bone transmission rate for the DTDM system. Each of 30            The DTDM bit stream transmitted via line 150 is
                 the frames in the train 10 has an occupied transmission           formed by DTDM assembler 43 and contains the data
                 overhead field (T).                                               of three DS3 tn'butaries 45.
                     lliustratively, the train of frames has a bit rate of            Tune division demultiplexer 44 receives a high speed
                 about lSO Megabits per second and comprises 144K                  bit stream from a switch (not shown) via line 170 and
                 blocks/sec. The assembler 10 serves to insert data from 3S        demultiplexes this stream into a plurality of DTDM
                 the tributaries 5,7,9 into the payload fields of the              streams. One DTDM stream containing data for cus-
                 DTDM frames in the stream 10. To accomplish this, the             tomer premises equipment goes to demultiplexer 39 via
                 tributaries 5, 7, 9 are first packetized using packetizers        line 120 and another DTDM stream comprising DS3
                 11, 13, 15, respectively to form the packetized streams           slots goes to disassembler 47 via line 179.
                 17, 19, 21. Each packet comprises a header (H) and an 40
                  information field. In the case of the tributary 5, up to IS               3. DTDM Assem~ler and Disassembler
                 milliseconds of speech samples are accumulated to form     The function of the DTDM bit stream assembler 32
                 a packet In the case of the circuit tributary each slot is
                                                                         of FIG. 3 is to packetize each incoming data stream
                 converted to packet form by placing a header at the     associated with one particular customer service or
                  front thereof.                                         transmission channel and then embed these packets into
                                                                              4S
                     To form the DTDM stream 10, the packets compris-    the basic DTDM transmi§ion frames. The assembler 32
                  ing the streams 17, 19, 21 are inserted into the empty is shown in greater detail in FIG. 4.
                  payload fields of the empty frames in the stream 10. The  The assembler 32 comprises a plurality of interface
                 empty frames are shared by the three tnoutaries by      units 50. Each interface unit 50 serves to interface an
                  giving higher priority to the circuit tnoutary 9 and soassociated data input 21 with the DTDM bit stream. A
                 allowing the voice and graphics tributaries 5, 7, to con-
                                                                         DTDM bit stream comprising empty frames with
                  tend for empty frames on a first-come, first-served basis.
                                                                         empty payload fields is generated by framer unit 52. A
                                                                         detailed description of the framer unit is provided be-
                 Thus, the circuit tributary seizes one out of every three
                  frames so that the regularity of the circuit transmission
                                                                         low.
                  is maintained throughout the DTDM transmission link. ss   Each interface unit includes a framer unit 53. The
                                                                         framer units 52, 53 are connected together in a daisy
                  Similarly, the voice tributary will seize one out of every
                  2,160 frames and the graphics tributary will seize on  chain fashion. The frames comprising the DTDM bit
                  average one out of every lSO frames. It should be notedstream are passed along the daisy chain from one framer
                  that the bit stream U is not 100% occupied and that    unit· to the next. More particularly, the DTDM bit
                  some frames remain empty. In this way, three diverse 60stream leaves the serial data output (sdo) of the framer
                  tributaries are multiplexed into a single DTDM bit     unit 52 and enters the serial data input (sdi) of the toP""
                  stream.                                                most framer unit 53. The DTDM bit stream leaves the
                                                                         topmost framer 53 via its serial data output (sdo). The
                             2. A Network Utilizing DTDM                 DTDM bit stream then enters the serial data input (sdi)
                   FIG.3 schematically illustrates an end-to-end net- 65 of each succeeding framer unit and leaves via the serial
                 work .lO utilizing DTDM. The network 20 connects to     data output (sdo) of each framer unit. The DTDM bit
                 customer premises equipment (CPE) 22, of which three    stream leaves the serial data output of the lowermost
                 types are illustrated, namely video, voice and data.     framer via line 62. As shown in FIG. 3, line 62 serves to
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        transmit the DTDM bit stream to the DTDM multi-                plexers, etc., the DTDM bit stream is disassembled and
        plexer 36. If the DTDM· frame currently located at the         the data distributed to the appropriate custOmer sec-
        framer unit 53 of a particular interface 50 is empty, that     ~ces equipment. In the network 20 of FIG. 3, the disas-
       interface may insert a packet into the payload field of         sembler 34 is used for this purpose. The disassembler 34
        the DTDM frame.                                              S is shown in greater detail in FIG. 5. IDustratively, the
           The data inputs 21 to the assembler 32 are connected        disassembler 34 · removes both the transmission over-
     . to the customer premises equipment l2 of FIG. 3 and             head . and packet header field from each incoming
        may have a wide range of bit rates; for example, the data      DTDM frame and distnoutes the data contained in the
       inputs 21 can be video, voice, data, or different digital       frame to the desired customer premises device.
        hierarchical transmission signals (DS-1, DS-2 and 10              More particularly, the assembler 34 comprises a plu-
       DS-3). Therefore, the assembler architecture. must be           rality of interfaces 66. Each interface 66 receives the
       capable of efficiently accommodating different input bit        incoming DTDM bit stream via line 33 (see FIG. 3) and
       rates and be flexible enough to allow for future expan-         is illustratively connected to one customer premises
       sion or for the changing of particular input connections        device via an output lines 23 (see FIG. 3). Each incom-
       to different services. The architecture shown in FIG. 3 IS ing DTDM frame is simultaneously received by the
       provides the capability to easily add or drop a particular      framer UDit 70 in each interface 66. However, only
       input service.                                                  packets containing data to be transmitted to the associ·
           Each input l1 is connected to a packetizer 55 which         ated customer premises equipment are transferred from
       forms part of the associated interface unit 50. The             the framer 70 to the associated FIFO 72. To accomplish
       packetizer 55 puts the incoming data into a packet struc- 20 this, the packet occupancy and channel identification
       ture by adding a packet header at the begh:ming of ap-          number are examined by the framer 70. The framer 70 in
       propriate segments of the input bit stream. The packet          turn generates proper control signals via lines 73,
       header carries inforination about the packet, such as           which, along with control logic 74, determine whether
       packet occupancy, channel identification number, line           or not the packet carried in the payload · field of the
       identification number, check sum and so on. illustra- 25 particular DTDM frame wUI be written into the FIFO
       tively, the channel identification number is used to iden-      72 of the particular interface unit so that the data con-
       tify the input service from which the packet originated.        tained in the packet can be transmitted to the associated
       After the data is put into a packet structure, it is stored     customer premises equipment.
       in a FIFO 57 with byte wide format. The framer unit 53             Recovering the correct frequency from the·incoming
       then reads the data from the FIFO 57 into its parallel 30 data is a very challenging task. Although for each kind
       data input (pdi) 58 and generates properly framed data          of customer premises equipment or service the ire-
       bits which are inserted into an empty payload field of a        quency is known, the difference between the local read-
       DTDM frame currently at the particular framer unit 53.          ing clock used to read data out of the FIFO 72 and the
           However, a framer unit 53 will not read the data from       clock which was used to load data into empty frames at
    1
       the FIFO 57 unless two conditions are met. One is that 3S the transmit end may result in overflow or underflow of
     · the "packet-ready" pulse signal from the packetizer 55          the FIFO 72. illustratively, a phase locked loop 78 is
       is asserted, indicating one packet is completely stored in      used to modify the local reading clock in order to can-
       the FIFO. The other condition is that the incoming              eel this difference in clock rates.
       DTDM frame on the serial data input (sdi) of the framer            As shown in FIG. 5, the local reading clock signal
    · 53 is not already ·occupied by a valid packet, Le. the 40 . (line 73a)used to read data out of the FIFO 72 is phase
       incoming DTDM frame is empty. Thus, an empty or                 locked with the incoming data so that the data can be
       "emp" signal is transmitted .from the framer 53. The            read out correctly from the FIFO 72 without overread·
       "packet-ready, signal triggers an enable signal, "en", in       ing or underreading. The rate at which data is read out
       the framer unit to be asserted for the whole frame trans-       of the FIFO is determined by the frequency of the volt-
       mission period allowing the data packet to be moved 4S age controlled oscillator 76 in the phase locked loop 78.
       from the FIFO 57 through the framer 53 and into the                The packet is written into the FIFO 72 with the net-
       DTDM bit stream. Using the "emp" and "en" signals,              work clock rate, but read out at a rate dependent on the
       control logic 59 controls the reading of a packet out of        particular equipment to which the data is transmitted.
       the FIFO 57 and into the framer 53.                             An "hf" signal·which indicates that the FIFO 72 is half
           Since the framer units 53 are daisy-chained together, so full is smoothed out by a low-pass filter 75 whose output
       the contention for empty DTDM frames is automati-               is used to control the output frequency of a voltage-con-
       cally resolved in favor of input services having posi-          trolled osci118tor 76. H information is read out of ~e ·
       tions closer to the empty frame generator.                      FIFO 72 faster than information is written into the
         . In order to simplify the assembler 32 of FIGS.· 3 and       FIFO 72, then the "hf" signal will not be asserted. This
       4 · and hence reduce the building cost, one practical ss causes the voltage output from the low-pass filter 75 to
       assumption may be utilized; the total traffic of all inputs.    decrease, reducing the output frequency produced by
       at any given time is less than the bit rate of the basic        the voltage controlled oscillator and reducing the rate
       backbone DTDM stream.                                           at which data is read .o ut of the FIFO 72. Similarly, if
           The topmost framer 52 in FIG. 4 does not have any           in(ormation is read out of the FIFO more slowly than it
       input service connected to it. It generates the chain of 60 is being written into the FIFO 72, the '"hf' signal will be
       empty DTDM frames which are sent to the following               asserted and the voltage controlled oscillator frequency
       framers 53. H none of the interfaces 50 insert a packet         will be increased so that the read clock signal frequency
       into a particular frame, an empty frame is finally sent         is larger. The same interface unit 66 can be used for
       out through the serial data .output (sdo) of the bottom-        different customer premises devices by choosing a
       most framer unit on lead 62.                                 6S proper frequency for oscillator 69.
           After the DTDM bit stream has traveled through the             Data packets read out of FIFO units 72 are depacke-
       entire communications network 20 of FIG. 3, which               tized by means of depacketizer circuits 79 which serve
       network includes multiplexers, switches, and demulti-           to remove the headers. The resulting data is then trans-
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                                                           4,893,306
                                11                                                                   12
    mitted via lines l3 to the appropriate customer premises            streams of the same bit rate. The multiplexer 36' of FIG.
    equipment.                                                          7 has the flexibility to receive N input DTDM bit
                                                                        streams and to transmit M output DTDM bit streams,
     4. DTDM Bit stream Multiplexer and Demultiplexer                   which allows M output lines to be shared by N input
       The function of the DTDM bit stream multiplexer 36          s    lines. It is known that both the probability of buffer
    of FIG. 3 is to concentrate a plurality of relatively               overflow and the average delay for bursty traffic can be
    sparsely occupied incoming DTDM streams into at                     significantly decreased by increasing the number of
    least one more densely occupied DTDM stream of the                  outputs.                                                     ·
    same bit rate, resulting in more efficient use of the trans-           Using the multiplexer architecture 36 shown in FIG.
    mission facility. There is more than one architecture for      10   6, it is difficult to build an N:M multiplexer, because the
    implementing the DTDM multiplexer 36 of FIG. 3.                     service order is determined by a single central server.
       One embodiment of such a DTDM bit stream multi-                  However, it is possible to provide a multiplexer system
    plexer is illustrated in FIG. 6. The DTDM multiplexer               comprising M separate multiplexers of the type shown
    36 of FIG. 6 comprises N input lines 62 (see FIG. 3) and            in FIG. 6, each having N/M input lines and line buffers
    one output line 63 (see FIG. 3). Line buffers 64 recog-        1S   and one server and associated output line. In contrast,
    nize and queue incoming DTDM frames. The server 65                  the service order in the multiplexer 36' of FIG. 7 is
    looks for newly arrived DTDM frames in the line buff-               determined locally, which results in the flexibility of
    ers 64, adds a proper line number in the header field,              reassigning input lines to different output lines based on
    and sends the frames out in a more densely occupied                 the input traffic statistics.
    DTDM bit stream.                                               20      The N:M multiplexer 36' of FIG. 7 comprises a plu-
       The primary functions of the line buffers 64 are rec-            rality of input lines 6i (see FIG. 3) and a smaller number
    ognition and queuing of incoming DTDM frames. Each                  of output lines 63 (see FIG. 3). DTDM frames arriving
    line buffer contains a serial/parallel converter 66 for             on the input lines 62 are converted into a byte wide
    converting incoming serial DTDM frames into parallel                stream by means of the serial-to-parallel converters 86
    form and a first-in, first-out buffer 67 with capacity for     25   and stored in the associated buffers (FIFOs) 88. The
    multiple frames. A timing and control circuit 68 oper-              operation of the framer units 90, 92 is similar to those in
    ates the line buffer and interfaces it with the server.             the DTDM bit stream assembler of FIG. 3. Each framer
       The main functions of the server 65 are to look for              90, 92 bas a parallel data input (pdi), a serial data input
    newly arrived DTDM frames in the line buffers, to                   (sdi) and a serial data output (sdo). Framer 90, the head-
    modify the header field to include a line number, and to       30   end framer unit, doesn't have any input lines connected
    place the DTDM frame in a more densely occupied                     to it. In normal operation, it continuously sends out a
    DTDM bit stream. The server comprises a header insert               chain of empty frames. The remaining framers 9l take
    circuit 69 for modifying the header field of the DTDM               data comprising occupied DTDM frames in the buffers
    frames, a controller circuit 70 for interfacing with the            88, and insert this data into the empty frames generated
    line buffers 64, and a parallel to serial converter !70. The   3S   by t_he framer 90, so as to combine a plurality of sparsely
    operations of the server are pipelined; while the server            occupied DTDM bit streams into a smaller number of
    reads a DTDM frame from a line buffer and places it in              more densely populated DTDM bit streams.
    an outgoing DTDM stream, it continues searching line                   The N:M multiplexer 36' of FIG. 7 comprises an
    buffers for DTDM frames. It should be noted that the                (N+M)X(N+M) broadcasting cross point switch net-
    multiplexer of FIG. 6 is useful for multiplexing packets       40   work 95. The serial data output (sdo) of each framer 90,
    in non-DTDM transmission formats in addition to being               92 is connected to an input of the switch, and the serial
    useful for DTDM bit streams.                                        data input (sdi) of each framer 9 is connected to an
       Another possible architecture for a multiplexer capa-            output of the switch as shown in FIG. 7. The connec-
    ble of combining several relatively sparsely occupied               tions through the switch network are controlled by a
    DTDM bit streams into a more densely occupied                  4S   dedicated controller 97.
    DTDM bit stream of the same bit rate builds on the                     Dlustratively, when the system is initialized, the N
    architecture of the DTDM bit stream assembler 32 of                 input lines 62 are divided into M groups, (1,2 ..• , J),
    FIG. 4. Each input to an interface unit SO of FIG. 4 is             (J +1, J +2, ••• , lJ), ... , (MJ +1, .•• , (M + l)J), where
    replaced by a serial data link on which a DTDM bit                  J=N mod M. The J input lines in each group are logi-
    stream arrives. The data packets contained in the frames       so   cally connected as shown in FIG. 8. Each group of
    comprising the incoming DTDM bit stream contend for                 input lines is associated with one output line. Thus, all
    output frames in an outgoing DTDM bit stream. The                   of the DTDM frames arriving at the inputs of one group
    frames comprising the outgoing DTDM bit streams are                 are merged into a single DIDM bit stream which
    generated by the framer 52 and passed along the chain               leaves via the associated output. The topmost framer
    of interconnected framers 53. The interface units 50           ss    unit 92 in each group receives empty frames broadcast
    insert data packets from incoming DTDM frames into                  from the framer 90. Each frame is then passed through
    the frames of the outgoing bit stream to form a more                the switch 9S from one framer in the group to the next
    densely occupied DTDM bit stream. The contention                    framer in the group. If a particular FIFO 88 has data
    for output frames is resolved automatically by the daisy-           comprising a DTDM frame and the associated framer
    chained connection of the framer units. Note that no           60   92 receives an empty frame, the data is inserted into the
    packetizer is needed in the interface units, and the                empty frame. Thus, within each group service priority
    length of each FIFO is preferably more than two frames              is ranked in descending order with the higher priorities
    to prevent data packets contained in incoming frames                near the top. Ultimately, M relatively densely occupied
    from being lost.                                                    DTDM bit streams leave the multiplexer of FIG. 6 via
       FIG. 7 schematically illustrates an alternative             6S   the outputs 63.
    DTDM bit stream multiplexer for combining a plurality                  Thus, with the addition of the cross point switch,
    of relatively sparsely occupied DTDM bit streams into               more than one framer .92 receives empty frames from
    a smaller number of more densely populated DTDM bit                 the framer 90 at the same time. This achieves the N:M
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                                  13                                                             14
      multiplexing function automatically .and with minimal        frames leave the framer 132 via the serial data outputs
      complexity.            ·                                     and form the outgoing DTDM bit streams on the lirles
         If the input lines are not grouped so as to distn"bute    33. When data packets are present in the FIFOs ·130
      output traffic evenly, the input lines can be regrouped      they are inserted into the frames generated by the     fram-
      easily by changing .the connections within the switching s ers 132. In particular embodiments of the demultiplexer,
      network 95. For example, a particular input in the first     the functions of the Cramer units 126, 132 may be per·
      group of inputs may be assigned to any other group,          formed by a single framer unit.
      e.g., the second group of inputs, .to spread out traffic
      evenly. The controller fY1 must know the traffic statis·        S. Time Division MUX!DEMUX for DIDM Bit
      tics of each input line aild follow some algorithm to 10                             . Stream
      rearrange the inputs·and decide the ordering (priority)         After relatively sparse DTDM bit streams. are con-
      within each group.                                           centrated into more densely populated D1DM bit
         The DTDM multiplexer of FIG. 7 may route DTDM             streams of the same bit rate using for example, the
      frames arriving on the same input line to different out-     DTDM multiplexer 36 of FIG. 3, a plurality of such
      put lines. For example, n frames arriving on an input lS more densely populated bit streams may be time divi·
      line have been sent to output #1. But the (n + l)th frame · sion.multiplexed into a higher speed data stream using,
      may be switched to output #2 because rccontiguration         for example, the time division multiplexer 42 of FIG. 3.
      took place to balance traffic among the output lines.        Such high speed data channels may be used for commu-
     This may cause an out ·o f sequence problem if the            nications to and from central offices.
      (n+ l)th frame airives at the receive end before the nth 20     Usually, the most challenging work in a time division
     frame docs. The cost to reorder the frame sequence at         multiplexing system is to synchronize all incoming bit
      the output end may be high. IDustratively, to avoid this    streams so that they have a common bifrate before they
     problem, one rule may be followed: the input lines car-       are interleaved into a higher bit rate stream. Typically,
     rying services with high bit rate information, such as       the input bit streams have the same nominal center
      video, will not be sWitched from one input line group to 2S frequency but drift independently a small amount from
     another during the service period. For a low bit rate        the center frequency. The conventional way to over-
     service, such as voice at 64 Kb/s, even if two consccu-       come the asynchronization among the input bit streams
     tive frames containing data are dispatched onto two          is positive bit or byte stuffing. The frequency of the
     different output lines, the two frames from such a bursty    high speed output bit stream is made greater than the
     service will be separated by more than several hundred 30 product of the nominal center frequency and the num-
     frame intervals. Hence, it is unlikely for there to be an    ber of input tn'butaries. There is usually a bit or byte
     out of sequence problem in this case.                        position reserved for the occasional stuffing of a dummy
         It should be noted that multiplexer architecture of      bit or byte. Also, there is some control overhead used to
     FIG. 7 may be used to multiplex other types of traffic       indicate if the bit or byte at the stuffing position is valid.
     besides DTDM traffic. For example, streams of data 3S            By taking advantage of the fact that the frames com-
     packets may be multiplexed together to form more             prising each input DTDM bit streams are not 100%
     densely occupied streams.                                    occupied, the frequency of the higher speed output bit
         Turning now to FIG~ 9, the DTDM bit        stream   de·  stream can be made exactly equal to the nominal center
     multiplexer 39 of FIG. 3 is illustrated in greater detail.   frequency of the input. tributaries times the number of
     The function of the DTDM bit stream demultiplexer 39 40 the input tn'butaries. In the case of a DTDM system,
     is to separate a relatively densely occupied incoming        this can be accomplished through ~e positive and nega-
     DTDM bit stream into a plurality of relatively sparsely      tive stuffing of DTDM frames. Since the frequency of
     occupied outgoing DTDM bit streams of the same bit           each input tributary signal can be adjusted in the pos~-
     rate so that the user data in the frames can ultimately be   tive or negative direction through the insertion or re·
     transported to the proper customer premises devices. 4S ·moval of an empty DTDM frame, it is poss1"ble to make
        The demultiplexer 39 of FIG. 9 has one input line 120     the frequency of the high-speed multiplexed bit stream
     (see FIG. 3) and a plurality of output lines 33 (see         exactly an integer multiple of the nominal input tn"bu-
     FIG.3). Each output line 33 is connected to the input        tary frequency.
     line 120 by means of an associated interface 124. Any           A time division multiplexer 42 (see FIG. 3) for multi·
     incoming DTDM frame is simultaneously received by so plexing a plurality ofDTDM bit streams is illustrated in
     the framer unit 126 in each interface 124. The frame         FIG. 10. Each input 63, 150 (see FIG. 3) is connected to
     occupancy and line · identification number of each in-       an interface unit 152. Each interface unit 152 comprises
     coming DTDM frame are examined by the framers 126.           a framer 154 which is clocked by 'a clock signal derived
     If the frame is not empty and the line number is . from a clock recovery circuit 156. The derived clock,
     matched, the packet contained therein will be written ss which is the actual frequency of the tn"butary, may
     into the FIFO 130 under the control of logic 128 and         differ slightly from the nominal tributary frequency as
     then read out of the FIFO 130 by the framer 132 at the       discussed above. This difference between the nominal
     output end of the interface 124 under the control of         and actual frequencies is eliminated in the interface unit.
     logic 134. Otherwise, the packet is simply disca.r4ed. In    Each incoming DTDM frame will be examined by the
     this manner, the data from each incoming frame is 60 framer 154 in the associated interface 152 fo1· its occu·
     routed to the correct output line. A counter 136 in each     pancy. The data packets contained in the occupied
     interface is used to count the number of bytes written       frames will be written into the FIFO 158 under the
     into the FIFO 130 and generates a signal when a full         control oflogic 159 and read out later by the framer 160
     packet is stored in the FIFO; This signal will inform the    at the output end of the interface unit 152. Empty
     output framer 132 to start reading the packet in the 6S frames arc discarded.
     FIFO. The Cramer 132 will assert the "en" signal during       · The reading of the data packets from the FIFOs 158
     the reading of the entire packet. The framers 132 gener-     to the parallel data inputs (pdi's) of the framers 160 is
     ate sequences of DTDM frames .. These sequences of · synchronized. The serial data input (sdi) of each framer
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                                                           4,893,306
                                15                                                                 16
    160 is connected to the serial data output of a framer           VOL SAC-4 No.9 pp 1424-1431 Dec. 1986 and L. R.
    162. The framer 16l serves to broadcast empty frames             Linnell "A Wide-band Local Access System using
    to the framers 160 so that each framer 160 receives a            Emerging-technology Components" IEEE Journal on
    synchronous chain of empty frames at the nominal trib-           Selected Areas in Communications, VOL SAC-4 No.4
    utary frequency. The empty frames received by each             5 pp 612-618 July 1986.
    framer unit 160 are filled with data packets from the
    associated FIFO 158 to produce synchronized tributary                                6. The Framer Circuit
    bit streams at the nominal tributary frequency.                       The framer unit is an important component for the
       If the actual frequency of a particular tributary is less       implementation of specific embodiments of the assem-
    than the nominal center frequency then on occasion, the        10 biers, disassemblers, multiplexers and demultiplexers
    associated FIFO 158 will not have a packet to insert               which comprise the DIDM network discussed above.
    into an empty DIDM FRAME. The net effect is that                      The framer unit performs a number of functions in the
    an empty DTDM frame is added so that the tnbutary                  DTDM network, including generating trains of empty
    acquires a frequency equal to the nominal frequency.               DTDM frames, enabling the writing of data packets
    However, if the actual frequency of the tributary is           15 into specific DTDM frames, and the examination of
    larger than the nominal center frequency the net effect            header data in specific DTDM frames to generate sig-
    is that empty DTDM frames are dropped so that the                  nals for the control of peripheral circuits (e.g. in a
    tributary acquires a frequency equal to the nominal                DTDM demultiplexer to determine if data in a particu-
    frequency. illustratively, the difference between the              lar DTDM frame belongs to particular customer prem-
    actual and nominal tnbutary frequencies is on the order        20 ises equipment or a particular less densely occupied
    often parts per million. In this case, a two frame capac-          DTDM bit stream). All of these functions may be car-
    ity FIFO 158 is sufficient as long as each input tnoutary          ried out by the framer unit discussed below.
    has one empty frame in 105.                                           A framer unit lOO is schematically illustrated in FIG.
       All of the framers 160 send out frames at the same              U. lliustratively, the framer unit lOO is formed as a
    time, with frame alignment being automatically                 2S single chip. The framer unit 200 has a serial data input
    achieved. The aligned frames are then bit interleaved              202, a parallel data input 204, a serial data output 206
    using bit interleaving circuit 164 to produce a single             and a parallel data output 208. Timing information for
    high bit rate bit stream at output 165 (see FIG. 3). Note          the framer unit lOO is provided by timing generator 209.
    that the clocks of the framers 160 arc connected to-               The framer 200 operates under control of a control unit
    gether so that data bits coming from the framers 160 are       30 210 which illustratively comprises one or more finite
    phase aligned and can be bit interleaved directly. The             state machines.
    clock for the framers 160 is provided by the clock gen-                As indicated above, a plurality of framer units may be
    erator 166 and frequency divider 167. In an alternative            connected in a daisy chain fashion and DTDM frames
    embodiment of a time division multiplexer, instead of bit          may be passed from one framer to the next (see e.g.,
    interleaving, frame or byte interleaving may also be           35 framers 53 of FIG. 4). Data may be written into an
    used. If the frame interleaving is used then the multi-            empty DTDM frame as follows. A DIDM frame is
    plexed output bit stream has the same DTDM Cn-.me                  received at the serial input 202. The DTDM frame is
    structure, thereby allowing the flenble single transport           converted to parallel form by serial-to-parallel con-
    architecture to grow as the technology advances.                   verter 212 and is detected by frame detector 214. The
       A time division demultiplexer 44 (see FIG. 3) for           40 frame detector 214 is in communication with the con-
    demultiplexing the high speed bit stream is illustrated in         trol210 and illustratively communicates to the control
    FIG. 11. The high speed data stream arrives on input               210 information such as whether or not the frame is
    line 170 (see FIG. 3) and is bit deinterleaved by means            empty. illustratively, the DTDM frame leaves the
    of bit deinterleave circuitry 172 into several lower               framer unit via the serial output 206 after conversion to
    speed tributary bit streams which are transmitted out-         4S serial form by way of parallel-to-serial converter 216.
    ward on lines 174. In order to dispatch the bits to cor-           However the frame cannot reach the parallel-to-serial
    rect tributaries, a predetermined span identification (SP          converter 216 unless the control 210 applies a signal to
    ID) is inserted for each tributary before they are multi-          the tristate device 218.
    plexed at the transmit side. The tributary present on line        . The data to be written into the frame is received at
    174a is connected to a framer unit 176, which will de-         ~ the parallel data input 204 (illustratively from a FIFO
    teet the frame .boundary and determine by examining                57 in the DTDM bit stream assembler 32 of FIG. 4). If
    the span identification whether or not the bit deinter-             the particular DTDM frame is empty and data is avail-
    leave circuitry has correctly aligned the incoming bit              able at the parallel input 2.04, a signal is applied by the
    stream so that appropriate data goes to appropriate                 control 210 to the tristate device 220 to enable the data
    output tributaries. If not, either a skip pulse is generated   ss to be inserted into the particular DTDM frame .via bus
    to rotate the bit sequence or a signal is generated by the         219 before it leaves the framer unit. However, if the
     framer 176 and sent to a cross point switch 178 to reas-           DIDM frame is already full the control does not pro-
    sign the order of the bit stream. The bit streams with              vide such a signal to the tristate llO. In particular
     correct bit assignments appear at outputs 120, 179 (see            framer units additional information such as span identifi-
     FIG. 3). Alternatively, instead of the crosspoint switch      60 cation may be inserted into specific DTDM frames by
     178, a barrel shifter may be used. It should be noted that         means of an additional tristate unit not shown.
     the clock for the bit deinterleave circuit 171 and framer             The framer unit lOO may also be utilized to generate
     176 is provided by clock recovery circuit 180 and fre-             a chain of empty DIDM packets (see e.g., framer 52 in
     quency divider 182. Demultiplexers which operate ac-               FIG. 4). In this case the serial input 202 and associated
     cording to similar principles are disclosed in R. J.          6S serial-to-parallel converter 212 are not utilized. Instead,
     Boehm et al. "Standardized Fiber Optic Transmission                the control 210 applies a periodic signal to tristate 222
     Systems • A Synchronous Optical Network View..                     so that a frame alignment word is periodically read from
     IEEE Journal on Selected Areas in Communications                   frame byte ROM 224 and transmitted via bus 219 to
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                                  17                                                                  18
      parallel-to-serial converter 216 and serial output 206 so            3. A method for generating a bit stream capable of
      as to define a train of empty DTDM frames. Other                 transporting data originating from both circuit transmis-
      information comprising the transmission overhead (I)             sion and packet sources comprising
      field of the DTDM frame may also be stored in ROM                    generating a bit stream comprising a sequence of
     224 or provided by other sources connected to the bus S                   frames, each of said frames including a transmission
      219 via a tristate device operative under the control of                 overhead field containing frame timing information
      the control unit 219;                                                    and an empty payload field,
         In particular situations (see e.g., framers 70 of FIG. 5          packetizing data from a plurality of sources having
     and U6 of FIG. 9), a framer unit receives occupied                        different bit rates and which have access to said bit
     DTDM frames and the header (H) or transmission over-
                                                                   10          stream   including circuit transmission sources or
                                                                               customer premises equipment to produce data
     head (T) fields have to be examined to control periph-
                                                                               packets, and             .
     eral circuit operations such as the reading of data into a            inserting said packets from said sources into the
     FIFO. In this case, a multiple byte delay unit 230 may                    empty payload fields of said frames such that a
     be included in the path between the serial input 202 and lS               packet from any of said sources is inserted into any
     the parallel and serial outputs 208, 206. Typically a                     available empty payload field of any of said frames
     fra.Die arrives at the serial input .202 and is converted to              for transmitting data from each of said sources at its
     parallel form by the serial-to-parallel converter 212.                    own desired bit rate via said bit stream and for
     The frame detector detects the frame and supplies nec-                    transmitting data from said plurality of soUrces
     essary information from the header or transmission 20                     simultaneously using said bit stream.                  ·
     overhead fields to the control unit 210 which issues                 4. An apparatus for assembling a dynamic time divi·
     appropriate control signals via lines 232 such as user            sion multiplexing bit stream comprising,
     read/write strobes. IDustratively, the user read/write               generating means for generating a train of frames
    strobes control the writing of data from DTDM frames                       wherein each frame includes a transmission over-
     in the framer unit into associated FIFOs or other butT- 2S                head field containing timing information and an
     ers. H the FIFO has byte wide format, the parallel out-                  empty payload field,
     put 206 may be used for this purpose. The delay unit 230             processing means for processing data from a plurality
     is used to insure that the necessary signal processing                   of sources into packet format, and
     takes place before the DTDM frame leaves the framer                  inserting means for receiving said train of frames and
     unit                        .                                 ~      · for inserting each of said packets comprised of data
                                                                              from one of said plurality of sources into any empty
                            7. Conclusion                                     payload field of any of said frames available to said
                                                                              inserting means to form said bit stream so that data
        A data transmission technique known as Dynamic
                                                                              from each of said sources can be transmitted at its
    T1n1e Division Multiplexing (DTDM) has been dis- lS                       own desired bit rate via said bit stream and so that
    closed along with an ·end-to-end network utilizing                        data from said plurality of sources can be transmit-
    DTDM.                                                                     ted simultaneously via said bit stream.
    . F~y, th~ above desc~"bed ~bodiments of the                          5. The apparatus of claim 4 wherein said sources
    mvention are mtended to be illustrative only. Numerous            include circuit ·transmission bit streams or customer
    alternative embodiments may be devised by those 40 premises equipment.
    skilled in the art without departing from the spirit and              6. An apparatus for assembling a bit stream for trans-
    scope of the following claims.                                    mitting data from a plurality of sources comprising:
        What is claimed is:                                               means for generating a train of frames, each of said
        1. A method for simultaneously transmitting data                      frames including a transmission overhead field and
    from sources having different bit rates in a telecommu- 45                an einpty payload field, and
    nication network comprising the steps of:                             a J?lurality of interfaces, ~h of said in~ac:S aery-
        generating a bit stream comprising a sequence of                      mg to mterface one ~f ~d sources Wl~ ~d tram
           frames, each of said frames including a transmission               of frames, each of wd.mterfaces compnsmg:
           overhead field containing frame timing information           · packetizing means for converting data into data pack-
           and an empty payload field, and                        SO          ets,                    •                  .
        filling the empty payload fields in said frames with              memory means !or stonn~ .at least one of saJd packets
           data in packetized format from a plurality of                    . fo~ed by wd ~acke~g means, and                .     .
           sources which have access to the bit str       · clud-         ctrcwt means for. mserting a packet stored m saJd
           .     . .                                  eam m .                 memory means mto any empty payload field of any
           mg cu:cmt or packet sources, ~uch that ~ta ~ "                     available one of said frames so that data from each
           packetized format from any of wd sources JS wnt-                   one of said sources can be transmitted at its own
           ten into any available empty payload field of any of              ·desired bit rate via said bit stream and so that data
           said frames ~or transmi~g    da!B    from e~h o_f sai~             from said plurality ·of sources can be transmitted
           sources at Its own ~~ btt rate ~ saJd ~1t                          simultaneously via said bit stream.
           stream and for transmitting data from wd plurality 60          1. The apparatus of claim 6 wherein said interface
           of 8ources simultaneously via said bit stream.             units are connected to one another serially and wherein
        2. The method of claim 1 wherein prior to filling said        said frames are passed sequentially to each of said inter-
    frames with slots from a circuit transmission stream,             face units to receive said packets in said empty payload
    said slots are converted to said packetized format by             fields.
    placing a header in front of each of said slots.              65                         •      •• • •
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                                                                                                                                USOORE36633E
    United States Patent                                                                     [19J   [11] E          Patent Number: Re. 36,633
    Fleischer et al.                                                                                [45]   Reissued Date of Patent: Mar . 28, 2000

    [54]     SYNCHRONOUS RESIDUAL TIME STAMP                                                               Letter from P. Adam of CNET dated Aug. 26, 1991 con-
             FOR TIMING RECOVERY IN A                                                                      cerning discussion on TS/SFET.
             BROADBAND NETWORK                                                                             Memorandum from R. Lau and B. Kittams of Bellcore dated
                                                                                                           Oct. 11, 1991 reA Compromise of SFET and TS.
    [75]     Inventors: Paul E. Fleischer, Little Silver;                                                  Memorandum from T. Houdoin to B. Kittams & R. Lau
                        Chi-Leung Lau, Marlboro, both of N.J.                                              dated Oct. 14, 1991 re Compromise SFET/TS.
    [73]     Assignee: Telcordia Technologies, Inc.,                                                       CNET Memorandum from T. Houdoin to R. Lau and B.
                       Morristown, N.J .                                                                   Kittams re Compromise SFET/TS (undated).
                                                                                                           Y. Matsuura, S. Kozuka, K. Yuki, "Jitter Characteristics of
    [21]     Appl. No.: 08/555,196                                                                         Pulse Stuffing Synchronization," pp. 259-264, Jun. 1968.
                                                                                                           D.L. Duttweiler, "Waiting Time Jitter," Bell System Techni-
    [22]     Filed:         Nov. 8, 1995                                                                   cal Journal, vol. 51, No. 1, pp. 165-209, Jan. 1972.
                                                                                                           CCITT Recommendations G. 707, G. 708, G. 709 (1988).
                 Related            U.S. Patent Documents
    Reissue of:                                                                                                            (List continued on next page.)
    [64] Patent No. :                 5,260,978
          Issued:                     Nov. 9, 1993                                                         Primary Examiner-Don N. Vo
          Appl. No.:                  07/969,592                                                           AttorneY> Agent, or Firm-Joseph Giordano
          Filed:                      Oct. 30, 1992
                                                                                                           [57]                      ABSTRACT
    [51]     Int. CI.7                                               H04L 7/00
                         ... .. ..•.•....••....... ... ..... . ...... .......... •.. .•..•

    [52]     U.S. Cl ........................... 375/354; 375/362; 375/364;                                A Residual Time Stamp (RTS) technique provides a method
                                                  370/509; 370/394; 370/516                                and apparatus for recovering the timing signal of a constant
    [58]     Field of Search ..................................... 375/354, 355,                           bit rate input service signal at the destination node of a
                                                                                                           synchronous ATM telecommunication network. At the
                              375/362, 365, 366, 371, 364; 370/503,
                             509,510,511,512,516,394,517,519                                               source node, a free-running P-bit counter counts cycles in a
                                                                                                           common network clock. At the end of every RTS period
    [56]                         References Cited                                                          formed by N service clock cycles, the current count of the
                                                                                                           P-bit counter, defined as the RTS, is transmitted in the ATM
                       U.S. PATENT DOCUMENTS                                                               adaptation layer. Since the absolute number of network
           4,489,421 12/1984 Burger .
                                                                                                           clock cycles likely to fall within an RTS period will fall
           4,530,091 7/1985 Crockett.                                                                      within a range determined by N, the frequencies of the
           4,759,014 7/1988 Decker et al. .                                                                network and service clocks, and the tolerance of the service
           4,961,188 10/1990 Lau .                                                                         clock, P is chosen so that the 2p possible counts, rather than
           5,115,431 5/1992 Williams et al. .                                                              representing the absolute number of network clock cycles an
           5,255,291 10/1993 Holden et al. .                                                               RTS period, provide sufficient information for unambigu-
                                                                                                           ously representing the number of network clock cycles
                  FOREIGN PATENT DOCUMENTS
                                                                                                           within that predetermined range. At the destination node, a
           3-114333      5/1991          Japan .                                                           pulse signal is derived in which the periods are determined
                                                                                                           by the number of network clock cycles represented by the
                         OTHER PUBLICATIONS                                                                received RTSs. This pulse signal is then multiplied in
    CCITT Study Group XVIII/8-Contribution D. 1123                                                         frequency by N to recover the source node service clock.
    entitled "Proposed method to provide the clock recovery
    function for circuit emulation", (Dec. 1990).                                                                         33 C laims, 3 Drawing Sheets

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                       01HER PUBLICJXfiONS                           Appendix 6 (to Annex 7) for COM XVIII-R 70-E entitled
                                                                     "Descriptions of the TS Method" (Jul. 1991).
        CCITT Recommendations G. 823, G. 824 (1988).
        CCITT Recommendations D.294, "Timing for CBO Ser-            R.C. Lau and P.E. Fleischer, "Synchronous Techniques for
        vices," Jun. 1989.                                           Timing Recovery in BISDN," IEEE Globecom, pp.
        R.C. Lau, "Synchronous Frequency Encoding Technique for      814-820, Dec. 1992.
        B-ISDN Circuit Emulation," SPIE vol. 1179 Fiber Net-         R.C. Lau and P.E. Fleischer, "Synchronous Techniques for
        working and Telecommunications, pp. 160-171, Sep. 1989.      Timing Recovery in BISDN," Communications Switching
        H.M. Ahmed, "Adaptive Terminal Synchronization in            of the IEEE Communications Society, IEEE Transactions on
        Packet Data Networks," Globecom, pp. 20.6.1-20.6.5, 1989.    Communications, Apr. 1995.
        CCITT SG XVIII Contribution, D.1020, "Timing Recovery        Kozuka, "Phase Controlled Oscillator for Pulse Stuffing
        for CBR Circuit Emulation." Dec. 1990.                       Synchronization System," Review of the Electrical Com-
        CCITT Study Group XVIII-Contribution D. 1451 entitled        munications Laboratory, vol. 17, Nos. 5-6, May-Jun. 1969.
        "Performance Comparison of Timing Recovery Methods for
        CBR Services," Jun. 1991.                                    R.P. Singh et al., "Jitter and Clock Recovery for Periodic
        Submission to T1S1 entitled "Broadband Aspects of ISDN,"     Traffic in Broadband Packet Networks," Bell Communica-
        T1S1.5/91-382, Nov. 4, 1991.                                 tions Research, Inc., presented at IEEE Globecom, Florida,
        Summary Minutes of T1 Services, Architecture, and Signal-    Dec. 1988.
        ing Technical Subcommittee (T1S1) Session, Nov. 8, 1991.     J. Gonzales et al., Proceedings ICC '91, "Jitter Reduction in
        CCITT Study Group XVIII entitled "Synchronous Residue-       ATM Networks," 1991, pp. 274-279.
        Time Stamp: A Combination of SFET/TS", Dec. 1991.            R.P. Singh et al., "Adaptive Clock Synchronization Schemes
        CCITT Study Group XVIII entitled "Report of the meeting      for Real-Time Traffic in Broadband Packet Networks,"
        of SWP XVIII/8- 3 (Services, IVS and AAL types 1 and 2)",    Presented-8th European Conference on Electrotechnics,
        Dec. 1991.                                                   Stockholm, Sweden, Jun. 1988.
        CCITT Study Group XVIII entitled "Revised text of 1.363
        Section 2 (AAL type 1)", Dec. 1991.                          American National Standard, ANSI T1.105-1988, "Digital
        CCITT Recommendation 1.363 entitled "B- ISDN ATM             Hierarchy Optical Interface Rates and Formats Specifica-
        Adaptation Layer (AAL) Specification," (1991).               tion," Sep. 1988.
        Appendix 5 (to Annex 7) for COM XVIII-R 70-E entitled        "Jitter Reduction in JXI'M Networks," Julio Gonzales and
        "Descriptions of the SFET Method" (Jul. 1991).               Jean-Paul Le Meur Proceedings ICC ' 91, 9.4.1-9.4.6.
                         Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 30 of 44 PageID #: 7165
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                             U.S. Patent                  Mar.28,2000                            Sheet 1 of 3            Re. 36,633


                                                                       FIG.             j


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                                   AND
                                  GATE
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            Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 31 of 44 PageID #: 7166


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                                          FIG. 3                                                                              =
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           ATM              AAL                     COMPARATOR                GATE                        (xN)
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        ASSEMBLER       PROCESSOR                                          _________, 40 I
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                                                              Re. 36,633
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         SYNCHRONOUS RESIDUAL TIME STAMP                                a phase-locked loop with very low cut-off frequency (in the
             FOR TIMING RECOVERY IN A                                   order of a few Hz) and would thus have resulted in excessive
               BROADBAND NETWORK                                        converging time and degradation of jitter and wander per-
                                                                        formance .
        Matter enclosed in heavy brackets [ ] appears in the               A number of schemes have been proposed to improve
    original patent but forms no part of this reissue specifi-          upon such a conventional manner of recovering service
    cation; matter printed in italics indicates the additions           timing in the presence of cell jitter, yet none has achieved
    made by reissue.                                                    this end economically and without extensive control systems
        This application is the parent application of reissue           of notable complexity. Singh et al., for example, in "Adap-
                                                                     10 tive Clock Synchronization Schemes For Real-Time Traffic
    application 09/292)668 filed Apr. 16) 1999.
                                                                        In Broadband Packet Networks," 8th European Conference
               BACKGROUND OF THE INVENTION                              on Electrotechnics, Stockholm, Sweden, June 1988, and
                                                                        "Jitter And Clock Recovery For Periodic Traffic In Broad-
       This invention relates to timing recovery of a source node       band Packet Networks," IEEE Globecom '88, Florida,
    service clock frequency at a destination node in a broadband        December 1988, have proposed algorithms which attempt to
                                                                     15
    asynchronous transfer mode (ATM) network where the                  more closely estimate cell jitter statistics and derive timing
    source and destination nodes receive reference timing sig-          recovery from those indications. These adaptive approaches,
    nals derived from a single master clock.                            suggested to be applicable to both synchronous and non-
       Asynchronous Transfer Mode (ATM) is a packet oriented            synchronous networks, rely upon the interaction of increas-
    technology for the realization of a Broadband Integrated 20 ingly complex algorithms which would require the noted
    Services Network (BISDN). By using ATM, network                     extensive controls for implementation.
    resources can be shared among multiple users. Moreover,                These prior art schemes described above can be classified
    various services including voice, video and data can be             as non-synchronous techniques, which are based on the
    multiplexed, switched, and transported together under a             simple fact that the expected value of the network cell jitter
    universal format. Full integration will likely result in simpler 25 is zero and thus rely on phase filtering. Synchronous
    and more efficient network and service administration and           techniques, on the other hand, utilize the fact that common
    management. However, while conventional circuit-                    timing is available at both the transmitter and the receiver.
    switching is optimized for real-time, continuous traffic, ATM       In a synchronous broadband ATM network, such as the
    is more suitable for the transport of bursty traffic such as        Synchronous Optical Network (SONET) prescribed by
    data. Accommodation of constant bit rate (CBR) services is, 30 American National Standard, ANSI Tl.105-1988, "Digital
    however, an important feature of AIM, both for universal            Hierarchy Optical Interface Rates and Formats
    integration and for compatibility between existing and future       Specification," Mar. 10, 1988, the network source and
    networks. In the transport of a CBR signal through a                destination node control clocks are synchronized to the same
    broadband AIM network, the CBR signal is first segmented            timing reference. As a result, there is no necessity for relying
    into 47-octet units and then mapped, along with an octet of 35 upon any extraneous phenomenon such as instants of cell
    ATM Type I Adaptation Layer (AAL) overhead, into the                arrival to provide a datum base for determining the relative
    48-octet payload of the cell. The cells are then statistically      frequencies of those control clocks. The effect of cell jitter
    multiplexed into the network and routed through the net-            caused by multiplexing and switching delays in the network
    work via AIM switches.                                              is therefore of little consequence in any procedure for circuit
       It is essential to the proper delivery of such CBR service 40 transporting CBR service, which is based, as is the present
    traffic in a broadband network that the clock controlling the       invention, on an actual synchrony of node timing. Thus
    destination node buffer be operating at a frequency precisely       being devoid of concern for cell jitter, tbis process is free to
    matched to that of the service signal input at the source node      simply determine the difference in frequency between the
    in order to avoid loss of information due to buffer over- or        CBR service signal input at the source node and the source/
    under-flow. However, unlike the circuit-switched transport 45 destination node timing clock(s).
    of service data wherein the clock frequency at the destina-            U.S. Pat. No. 4,961,188 issued on Oct. 2, 1990 to Chi-
    tion node may be traced directly back to that of the source         Leung Lau, co-inventor herein, discloses a synchronous
    node by the regular, periodic arrival of the CBR traffic,           frequency encoding technique (SFET) for clock timing in a
    transport in an AIM network inherently results in cell jitter,      broadband network. The SFET takes advantage of the com-
    i.e. the random delay and aperiodic arrival of cells at a 50 man timing reference at both the source and the receiver. At
    destination node, which essentially destroys the value of cell      the source, the asynchronous service clock is compared to
    arrival instances as a means for directly recovering the            the network reference clock. The discrepancy between prop-
    original service signal input frequency.                            erly chosen submultiples of the two clocks is measured in
       Such cell jitter, generally the result of the multiplexing of    units of a preassigned number of slip cycles of network
    transport cells in the broadband network and the cell queu- 55 clock. Tbis clock slip information is conveyed via a Fre-
    ing delays incurred at the AIM switches in the network, is          quency Encoded Number (FEN) which is carried in the AIM
    substantially unpredictable. Thus, little is known about the        Adaptation Layer (AAL) overhead. At the receiver, the
    cell arrival time beyond the fact that the average cell delay       common network clock and the FEN are used to reconstruct
    is a constant, assuming that the ATM network provides               the service clock. This timing recovery process does not rely
    sufficient bandwidth to ensure against loss of cells within the 60 on any statistics of the cell jitter except that it has a known,
    network. As a means for closely approximating the service           bounded amplitude . Therefore, the recovered clock has jitter
    signal frequency at the destination node, some consideration        performance comparable to that of the circuit-switched
    had previously been given to utilizing a direct extension of        network.
    circuit-switched timing recovery practices which rely                  An alternative proposed approach is known as Time
    entirely upon a buffer fill signal as the basis for recovery of 65 Stamp (TS). In the Time Stamp approach (see, for example,
    the source timing. However, due to the lack of knowledge of         Gonzales et al, "Jitter Reduction in ATM Networks", Pro-
    statistics of the cell jitter, this approach would have required    ceedings ICC' 91, 9.4.1-9.4.6), the network clock is used to
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                                 3                                                                  4
    drive a multi-bit counter (16-bits in the proposal), which is     clock. The service clock, which is derived from the incom-
    sampled every fixed number of generated cells (e.g., 16).         ing data signal to be transmitted over the .ArM network, is
    Thus, a fixed number, N, of service clocks cycles is used as      divided by the factor of N to produce a pulse signal having
    the measuring yardstick. The sampled value of the 16-bit          a period (the RTS period) which defines the time interval for
    counter is the TS that inherently conveys the frequency           measuring the number (modulo 21) of derived network
    difference information. Because of the size of the 1S (2          clock pulses. At the end of each RTS period, the current
    octets), it has been proposed that the TS be transmitted via      count of the free-running P-bit counter is sampled. That
    the Convergence Sublayer (CS) overhead. Thus the 1S is a          sampled value is the RTS, which is transmitted via the
    16-bit binary number occurring once every N service clock         adaptation layer. Since the service clock from which the RTS
                                                                      period is defined and the derived network clock are neither
    cycles. Differences in successive TSs represent the quan- 10
                                                                      synchronized nor integrally related in frequency, the actual
    tized values of M, where M is the number of network clock         number of derived network clock cycles in a RTS period is
    cycles during the fixed TS period. At the receiver, the 1S        unlikely to be an integer. Thus, when sampled at the end of
    period is reconstructed from the received TSs and the             each RTS period, the increment in the count of the P-bit
    network clock. A free-running 16-bit counter is clocked by        counter is a quantized version of the count (modulo 21) of
    the network clock and the output of the counter is compared 15 pulses in the RTS interval as modified by any accumulated
    to the received TSs which are stored in a TS FIFO. A pulse        fractional counts from a previous interval.
    is generated whenever there is a match between the TS and            At the destination node, after the AAL is processed, the
    the 16-bit counter. The service clock is recovered by sup-        successive RTSs are converted into a pulse signal which has
    plying the resultant pulse stream as the reference signal to a    periods between pulses defined by the fixed integral num-
    multiply-by-N phase locked loop (PLL).                         20 bers of derived network clock pulses that correspond to the
       A comparison of the SFET approach and the 1S approach          conveyed RTS periods. Specifically, a free-running P-bit
    reveals advantages and disadvantages for each. In the SFET        counter is driven by the derived network clock. A compara-
    approach there is a relatively stringent requirement on the       tor compares this count with a stored received RTS and
    derived network clock since it must be slightly larger than       produces a pulse output upon a match. Since the count of the
    the service clock. Advantageously, however, a convergence 25 P-bit counter matches the stored RTS every 2p derived
    sublayer is not required to transmit the FEN and only small       network clock cycles, comparator output pulses that do not
    overhead bandwidth is required to transmit the necessary          actually represent the end of the RTS period are inhibited by
    information. On the other band, the TS approach is more           gating circuitry. This gating circuitry includes a second
    flexible in that it does not require stringent relationships      counter that counts the derived network clock cycles occur-
    between the service clock and the network derived clock and 30 ring since the end of the previous RTS period. When this
    can therefore support a range of service bit rates.               second counter reaches a count equal to the minimum
    Disadvantageously, however, a rigid convergence sublayer          possible number of derived network clock pulses within an
    structure is required to transmit the TS, which adds com-         RTS period, the next comparator pulse output produced
    plexity and makes inefficient use of the overhead bandwidth.      upon a match between the RTS and the count of the P-bit
       An object of the present invention is to achieve synchro- 35 counter, is gated-through to the output and resets the second
    nous timing recovery with an approach that bas the advan-         counter. The resultant gated through output pulse stream
    tages of both the SFET and TS approaches, specifically, the       drives a multiply-by-N phase locked loop to recover the
    efficiency of SFET and the flexibility of TS.                     service clock.
               SUMMARY OF THE INVENTION                                        BRIEF DESCRIPTION OF THE DRAWING
       As described hereinabove, the TS approach requires a 40            FIG. 1 are timing diagrams showing the RTS concept of
    large number of bits (16-bits in the example), to represent        the present invention;
    the number of network clock cycles within a time interval
                                                                          FIG. 2 is a block diagram showing apparatus, in accor-
    defined by a fixed number (N) of service clock cycles. In
                                                                       dance with the present invention, for generating the RTS at
    accordance with the present invention, the number of bits
                                                                       the source node of an .ArM network;
    required to represent the number of network clock cycles 45
    within that time interval is substantially reduced. This is           FIG. 3 is a block diagram showing apparatus, in accor-
    possible through the realization that the actual number of         dance with the present invention, for reconstructing the
    network clock cycles, M (where M is not necessarily an             service clock at the destination node of an .ArM network;
    integer), deviates from a nominal known number of cycles           and
    by a calculable deviation that is a function of N, the 50             FIG. 4 are timing diagrams showing the gating function at
    frequencies of the network and service clocks, and the             the apparatus of FIG. 3.
    tolerance of the service clock. Specifically, therefore, rather
    than transmitting a digital representation of the quantized                        DETAILED DESCRIPTION
    actual number of network clock cycles within the interval,            The concept of the Residual Time Stamp is described with
    only a representation of that number as it exists within a
                                                                    55 reference to FIG. 1. In FIG. 1, and in the description
    defined window surrounding an expected, or nominal, num-           hereinafter, the following terminology is used:
    ber of network clock pulses is transmitted from a source              fn-network clock frequency, e.g. 155.52 MHz;
    node to a destination node in an .ArM network. This repre-
    sentation will be referred to hereinafter as the Residual Time        fnx--derived  network clock frequency,
    Stamp (RTS) . By selecting the number of bits, P, so that all
                                                                              fnx = ~.
    2p possible different bit patterns uniquely and unambigu- 60
    ously represent the range of possible numbers of network                        X

    clock cycles within the fixed interval that is defined by N
    service clock cycles, the destination node can recover the
                                                                       where x is a rational number;
    service clock from the common network clock and the
    received RTS .                                                  65    fs-service clock frequency;
       At the source node, a free-running P-bit counter counts            N-period of RTS in units of the service clock (fs) cycles;
    clock cycles in a clock signal derived from the network               Tn-the n-th period of the RTS in seconds;
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t   I   U




                                                                          Re. 36,633
                                              5                                                                           6
                   ±E-tolerance of the source clock frequency in parts per             where Mnom equals
                      million;
                   M (M         M      M . )-number off cycles within the                        fnx
                      ~-th n(;;~miu":i, ~~;imum, minim~m) RTS period,
                                                                                             Nx-
                                                                                               f,
                      which are, in general, non-integers.
                   As can be noted in FIG. 1, during the n-th period, T,.,
                                                                                      A specific numerical example can be considered for
                corresponding to N service clock cycles, there . are Mn            clarity of understanding. As illustrative derived network
                network derived clock cycles. As aforenoted, smce the
                                                                                   clock frequency and service clock frequencies could be
                service clock and the network clock are neither synchro-
                                                                                   given by fnx-155.52 MHZ (for x-1), and ~s-78.1? MHz
                nized nor integrally related in frequency, this number of 10
                                                                                   (nominal), respectively. A typical RTS samplmg penod (N)
                derived network clock cycles is not an integer. Since all
                                                                                   is 3008, which corresponds to a period o~ 8 cells and a
                practical timing recovery techniques transmit o?ly i~teger
                                                                                   47-octet payload per cell (47 bytes/cellx8 bits/bytex8 cells
                values, the fractional part of Mn must be dealt With. Simple
                                                                                   per RTS period). Using these numbers, Mnom-598? .2119. If
                truncation or rounding of the fractional part in each RTS
                                                                                   it is further reasonable to assume that the service clock
                time slot is not permissible, as this would lead to a "random 15
                                                                                   tolerance is 200 parts per million, i.e., ±200x10- 6 • From
                walk" type error accumulation. Rather, it is necessary to
                                                                                   equation (5), therefore, y=1.197, whi~h demonstrates tha.t it
                accumulate the fractional parts at the transmitter and use the
                                                                                   is superfluous to transmit the full Sn m each R~S samplin.g
                accumulated value to modify the transmitted integer quan-
                                                                                   period and transmission of the last few (P) bits of Sn IS
                tity. Since it is most convenient to generate RTS by an
                                                                                   sufficient. This P-bit sample is the Residual-TS (RTS).
                asynchronous counter, as will be described hereinafter in 20
                                                                                      FIG. 2 is a block diagram of the source node of an ATM
                conjunction with the description of FIG. 2, a "truncation"
                                                                                   network showing apparatus for generating and transmitting
                operation is natural, reflecting the fact that an asynchronous
                                                                                   the RTS. The basic network clock, C, shown at 10, serves as
                counter's output does not change until the subsequent input        the reference for timing of all nodes of the synchronous
                pulse arrives. To formalize these notions, Sn is defined as the
                                                                                   network being here considered. This clock, having a fre-
                truncated value of Mn after accounting for the left over 25
                                                                                   quency f,., is divided in frequency by a rational factor.x by
                fractional part, dn, from the (n-1)-th interval, viz.,
                                                                                   a divider 11 to produce a derived network clock havmg a
                                                                                   frequency fnx. Preferably, x would be an i~teger ~alue. The
                                                                                   dividing factor is chosen so that the P bits available can
                                                                             (1)   unambiguously represent the number of derived network
                                                                                 E clock cycles within an RTS period. In the case w here
                and



                                                                             (2) 35

                where [a] denotes the largest integer less than or equal to a.       is less than or equal to two, as in the example above, it can
                Since for accurate clocks, the range of Mn, is very tightly          be shown that a 3-bit RTS is sufficient.
                constrained, i.e., Mmax-Mm;n==2y<Mn, the variation in Sn is             The derived network clock, fnx, drives a P-bit counter,
                also smaller than its magnitude. It follows from Equation (1)        which is continuously counting these derived network clock
                that                                                              40 pulses, modulo 2P. The service clock, fs, on lead 13, which
                                                                                     is derived from the service data signal (not shown) to be
                                                                                     transmitted over the ATM network, is divided in frequency
                                                                              (3)
                                                                                     by   N, the desired RTS period in units of fs cycles, by
                                                                                     divide-by N circuit 14. As shown in FIG. 2, the output of
                                                                                  45
                Since the maximum and minimum of dn are 1 and 0                      divider 14 is a pulse signal in which Tn is its n-th period. At
                respectively, sn is bounded by,                                      every  T seconds (N source clock cycles) latch 15 samples
                                                                                     the current count of counter 12, which is then the P-bit RTS
                                                                                     to be transmitted. As aforedescribed, this number represents
                                                                                     the residual part of Sn and is all that is necessary. to. be
                                                                              (4) 50
                                                                                     transmitted to recover the source clock at the destmahon
                                                                                     node of the network.
                   This implies, that the most significant portion of Sn carries
                                                                                        Each successive RTS is incorporated within the ATM
                no information and it is necessary to transmit only its least
                                                                                     adaptation layer overhead by AAL processor 16. The asso-
                significant portion. This, therefore, is the essential concept
                                                                                     ciated data to be transmitted (not shown) is also processed
                of the RTS. The minimum resolution required to represent 55 by processor 16 to form the payload of the cells, which are
                the residual part of Sn unambiguously is a function of N, ~he
                                                                                     then assembled by an ATM assembler 17, which adds an
                ratio of the network derived frequency to the service
                                                                                     ATM header for transmission over the network 18.
                frequency, and the service clock tolerance, ±E. The maxi-
                                                                                        With reference again to the previous example, a four-bit
                mum deviation, y, between the nominal number of derived
                                                                                     counter (P-4) can be assumed to be used. Since Mnom-
                network clock pulses in an RTS period, Mnom• and the 60 5985.2119 and 5985.2119 (modulo 16)-1.2119, a typical
                maximum or minimum values of M (Mmax or MmiJ is given                RTS output sequence when the source is at nominal fre-
                by,
                                                                                     quency will be as follows;
                                                                            (5)
                                                                                             . .. 5,6,7,9,10,11,12,13,15,1,2, ...
                                                                                  65
                                                                                       Since the counter 16, in effect, quantizes by truncation, the
                                                                                       RTS changes only by integer values. The changes in RTS are
.
\   ,,
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                                                                       Re. 36,633
                                            7                                                                    8
             such that their average is exactly equal to Mnom (modulo 2.1).       that gating signal generator 39 is set to keep AND gate 40
             In this example, the changes are either 1 or 2 with the change       open. Comparator 35 compares the first RTS in FIFO 34
             of 2 occurring either every 4 or 5 RTSs in such a way that           with the free-running count of counter 36. When the count
             the average interval is 1/0.2119=4.7198. In general, succes-         of counter 36 matches this first RTS, shown in FIG. 4 as "2",
             sive RTSs are related by                                             comparator 35 produces a pulse which is gated through
                                                                                  AND gate 40. This gated output pulse resets gating signal
                                                                                  generator 39 thereupon turning off AND gate 40, resets the
                                                                           (6)    counter of counter 38 to zero, and reads the next stored RTS,
             In order to guarantee that no information is lost due to the         "5", in FIFO 34. When counter 36 reaches the count of "5",
             modulo arithmetic, i.e ., that the transmitted RTS represents 10 comparator 35 produces another output pulse. AND gate 40,
             sn unambiguously, it can be seen from equation ( 4) that the however, is OFF and remains off until counter 38 counts M 1
             number of bits used for transmission must satisfy:                   derived network clock cycles. Therefore, as noted in FIG. 4,
                                                                                  all the subsequent matches of the RTS, "5" and the count of
                                                                                  counter 36, which occur every 2p derived network clock
                                                                           (7) 15 cycles, are blocked by AND gate 40. These subsequent
             Thus, in the example above, the number of bits allocated to          pulses are blocked until counter 38 reaches a count of that
             the RTS must be 3 or greater. It can be noted that the number        minimum number of clock cycles that can comprise the
             of bits necessary to unambiguously represent the number of           fixed interval to be recovered from the RTS. After counting
             derived network clock cycles within the RTS period is                M1 derived network clock cycles, counter 38 generates a
             substantially less than the number of bits that would be 20 pulse which signals gating signal generator 39 to open AND
             required to represent the absolute number of clock cycles            gate 40. The next pulse produced by comparator 35 upon the
             within the same interval. In the example above, for example,         match between the RTS in FIFO 34 and the count of counter
             a 13-bit number would be required to represent M 0 .                 36 is gated through AND gate 40. This pulse, as before,
                If equation (7) is satisfied, knowledge of Mn 0 , :  Tn   the     resets counter 38, resets gating signal generator 39, and
             receiver at the destination node along with the received 25 reads-in the next stored RTS to the output of FIFO 34. The
             RTSs can be used to reproduce the service clock from the             resultant time difference between output pulses of AND gate
             synchronous network clock. FIG. 3 shows one receiver                 40 is the desired fixed time interval, sn, to be recovered from
             implementation for reproducing the service clock from the            the transmitted RTSs. As previously defined in equation (1),
             received RTSs. At the receiver the common network clock              sn is the truncated value in the nth interval, after accounting
             10 is available as it was at the transmitter. As in the 30 for a left over portion from the (n-1)-th interval, of the
             transmitter, a divider 31 divides the network clock                  actual number of derived network clock cycles within the
             frequency, fn by the same factor of x as divider 11 in the           fixed interval defined by N source clock cycles. As can be
             source node, to produce the same derived network clock               noted, Sn modulo (2.1) is equal to the difference of the RTSs
             signal having a frequency fnx as was used by the transmitter         associated with the pulses matched by comparator 35 right
             at the source node of FIG. 2.                                     35 before and right after the reset. Thus in FIG. 4, for the n-th
                In a structure paralleling the transmitter in FIG. 2, a           period, this is the difference between "5" and "2", or "3",
             disassembler 32 processes the ATM headers received from              and for the (n+ 1)-st period, this is the difference between "9"
             the network 18 and passes the payload to an AAL processor            and "5" or "4". The resultant pulse train at the output of
             33. In addition to extracting the transmitted data (not              gating circuitry 37 can be seen to duplicate the signal at the
             shown), processor 33 extracts the periodic transmitted RTSs, 40 source node of the network, which is defined by N service
             which are sequentially stored in a FIFO 34, which is used to         clock cycles, as modified by the quantization effect of the
             absorb the network cell jitter. The earliest received RTS in         RTSs. This pulse stream is input to a multiply-by N phase-
             FIFO 34 is compared by P-bit comparator 35 with the count            locked loop 41 which multiplies the frequency by the factor
             of a free running P-bit counter 36, driven by the derived            of N and smooths out the variation of the reproduced
             network clock, fnx. Whenever the output of counter 36 45 periods. The resultant output clock signal, f,., is the repro-
             matches the current RTS, comparator 35 generates a pulse.            duced service timing signal, which can be employed by the
             Since counter 36 is a modulo 2p counter, the RTS in FIFO             circuitry at the destination node.
             34 matches the count of counter 36 every 2p derived                     The above-described embodiment is illustrative of the
             network clock pulses, f..x. The output of comparator 35 thus         principles of the present invention. Other embodiments
             consists of a train of pulses that are separated, except for the 50 could be devised by those skilled in the art without departing
             first pulse, by 2p cycles of the derived network clock. In           from the spirit and scope of the present invention.
             order to select the output pulse of comparator 35 that                  What is claimed is:
             corresponds to the end of the fixed period of the transmitted           1. A method of recovering, at a destination node of a
             service clocks, which is the period per RTS to be recovered,         packet-based telecommunications network, the timing clock
             gating circuitry 37 is employed. Gating circuitry 37, which 55 of a service input at a source node of said packet-based
             includes a counter 38, a gating signal generator 39, and an          telecommunications network, the destination node and the
             AND gate 40, gates only that pulse output of comparator 35           source node having a common network clock, comprising
             produced after counting, from the last gated output pulse, a         the steps of:
             minimum number, M 1, of derived network clock cycles. This              (a) at the source node, dividing the timing clock of the
             minimum number, M1, is given by:                                  60       service input by a factor of an integer N to form
                                                                                        residual time stamp (RTS) periods;
                                                                                     (b) at the source node, counting the network clock cycles
                                                                           (8)
                                                                                        modulo 2P, where 2p is less than the number of network
             This ensures that [Mmax]-2p<M1<[Mmin], and thus the gat-                   clock cycles within an RTS period and P is chosen so
             ing pulse is guaranteed to select the correct RTS .               65       that the 2p counts uniquely and unambiguously repre-
                The gating function is best explained in conjunction with               sent the range of possible network clock cycles within
             the timing diagrams of FIG. 4. Initially, it can be assumed                an RTS period;
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                                                              Re. 36,633
                                   9                                                                    10
       (c) transmitting from the source node to the destination                counting means connected to the network clock for count-
          node an RTS at the end of each RTS period that is equal                 ing network clock cycles modulo 2P, where 2p is less
          to the modulo 2p count of network clock cycles at that                  than the number of network clock cycles within an RTS
          time;                                                                   period and P is chosen so that the 2p counts uniquely
       (d) determining from the RTSs received at the destination       s          and unambiguously represent the range of possible
          node, the number of network clock cycles in each RTS                    network clock cycles within an RTS period; and
          period;                                                              transmitting means, responsive to the RTS periods formed
       (e) generating a pulse signal from the network clock at the                by said dividing means and the count of said counting
          destination node in which the period between each                       means, for transmitting over the telecommunications
          pulse in the pulse signal equals the determined number       10         network an RTS at the end of each RTS period that is
          of network clock cycles in the corresponding RTS
                                                                                  equal to the modulo 2P count of network clock cycles
          period; and
                                                                                  at that time;
       (t) multiplying the frequency ofthe pulse signal generated
          in step (e) by the same factor of an integer N used in               and comprising at the destination node:
          step (a) to recover the timing clock of the service input.           receiving means for receiving the RTSs transmitted over
                                                                       15
       2. The method of claim 1 wherein the network clock                         the telecommunications network by said transmitting
    frequency is less than or equal to twice the service clock                    means;
    frequency.                                                                 converting means responsive to the received RTSs and the
       3. A method of recovering, at a destination node of a                      network clock for converting the received RTSs into a
    packet-based telecommunications network, the timing clock
                                                                                  pulse signal in which the periods between pulses are
    of a service input at a source node of said packet-based           20
                                                                                  determined from the numbers of network clock cycles
    telecommunications network, the destination node and the
    source node having a common network clock, comprising                         associated with the counts of network clock cycles
    the steps of:                                                                 within said RTS periods; and
       (a) at the source node, dividing the timing clock of the                means for multiplying the frequency of the pulse signal
          service input by a factor of an integer N to form            25         generated by said converting means by the same factor
          residual time stamp (RTS) periods;                                      of an integer N used in said dividing means for recov-
       (b) at the source node, dividing the network clock by a                    ering the timing clock of the service input.
          rational factor to form a derived network clock;                     6. Apparatus in accordance with claim 5 wherein the
                                                                            network clock frequency is less than or equal to twice the
       (c) at the source node, counting the derived network clock
                                                                       30   service clock frequency.
          cycles modulo 2P, where 2p is less than the number of
                                                                               7. Apparatus in accordance with claim 5 wherein said
          derived network clock cycles within an RTS period and
                                                                            converting means comprises:
          P is chosen so that the 2p counts uniquely and unam-
          biguously represent the range of possible derived net-               means for sequentially storing the received RTSs;
          work clock cycles within an RTS period;                              means for counting network clock cycles modulo 2p;
                                                                       35
       (d) transmitting from the source node to the destination                comparing means for comparing the modulo 2p count of
          node an RTS at the end of each RTS period that is equal                 network clock cycles with a stored RTS and for gen-
          to the modulo 2p count of derived network clock cycles                  erating a pulse each time the count of network clock
          at that time;                                                           cycles matches the RTS; and gating means for gating to
       (e) at the destination node, dividing the network clock by                 said multiplying means, for each sequentially received
                                                                       40
          the same rational factor used at the source node to form                and stored RTS, the pulse produced by said comparing
          a derived network clock equal to the derived network                    means that occurs after the counting means counts,
          clock at the source node;                                               starting-in-time from the previous gated pulse, anum-
       (t) determining from the RTSs received at the destination                  ber of network clock cycles that is greater than a
          node, the number of derived network clock cycles in                     predetermined minimum absolute number of network
                                                                       45
          each RTS period;                                                        clock cycles that can occur within any RTS period.
                                                                               8. Apparatus for recovering, at a destination node of a
       (g) generating a pulse signal from the derived network
                                                                            packet-based telecommunications network, the timing clock
          clock at the destination node in which the period
                                                                            of a service input at a source node of said packet-based
          between each pulse in the pulse signal equals the
                                                                            telecommunications network, the destination node and the
          determined number of derived network clock cycles in         50
          the corresponding RTS period; and                                 source node having a common network clock, comprising at
                                                                            the source node:
       (h) multiplying the frequency of the pulse signal gener-
          ated in step (g) by the same factor of an integer N used             first dividing means for dividing the timing clock of the
          in step (a) to recover the timing clock of the service                  service input by a factor of an integer N to form
         inp~.                                                         ~
                                                                                  residual time stamp (RTS) periods;
       4. The method of claim 3 wherein the derived network                    second dividing means for dividing the network clock by
    clock frequency is less than or equal to twice the service                    a rational factor to form a derived network clock;
    clock frequency.                                                           counting means connected to the network clock for count-
       5. Apparatus for recovering, at a destination node of a                    ing derived network clock cycles modulo 2P, where 2p
    packet-based telecommunications network, the timing clock          60         is less than the number of derived network clock cycles
    of a service input at a source node of said packet-based                      within an RTS period and P is chosen so that the 2p
    telecommunications network, the destination node and the                      counts uniquely and unambiguously represent the
    source node having a common network clock, comprising at                      range of possible derived network clock cycles within
    the source node:                                                              an RTS period; and
       dividing means for dividing the timing clock of the             65      transmitting means, responsive to the RTS periods formed
          service input by a factor of an integer N to form                       by said first dividing means and the count of said
          residual time stamp (RTS) periods;                                      counting means, for transmitting over the telecommu-
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                                                                  Re. 36,633
                                      11                                                                  12
               nications network an RTS at the end of each RTS period           means for receiving the RTS signal;
               that is equal to the modulo zP count of derived network          means for determining the number of network cycles in an
               clock cycles at that time;                                          RTS period from the RTS signal; and
            and comprising at the destination node:                             means responsive to the determining means for generat-
            receiving means for receiving the RTSs transmitted over                ing a clock signal which represents a recovery of the
               the telecommunications network by said transmitting                 timing clock of the service input.
               means;                                                           13. Apparatus for generating a representation of a timing
            means for dividing the network clock by the same rational        clock of a service input at a source node of a packet-based
               factor used at the source node to form a derived              telecommunications network, wherein a common network
                                                                          10 clock or divided network clock is provided for the source
               network clock;
            converting means responsive to the received RTSs and the         node and a destination node; the apparatus comprising:
               derived network clock for converting the received                (a) means for defining a time interval by a fixed number
               RTSs into a pulse signal in which the periods between               of service clock cycles; and
               pulses are determined from the numbers of derived 15             (b) means for generating a digital representation of a
               network clock cycles associated with the counts of                  quantized difference between an actual number of net-
               derived network clock cycles within said RTS periods;               work clock cycles within the time interval and an
               and                                                                 expected number of network clock cycles within the
            means for multiplying the frequency of the pulse signal                time interval, the difference being within a defined time
               genera ted by said converting means by the same factor 20           window corresponding to a frequency variation of the
               of an integer N used in said first dividing means for               source-node service clock
               recovering the timing clock of the service input.                14. The apparatus of claim 13, wherein the digital rep-
            9. Apparatus in accordance with claim 8 wherein the              resentation represents a chosen number of the least signifi-
         derived network clock frequency is less than or equal to            cant bits of the quantized actual number, the chosen number
         twice service clock frequency.                                      being sufficient to represent a range of frequency deviations
                                                                          25
            10. Apparatus in accordance with claim 8 wherein said            of the source-node service clock variation.
         converting means comprises:                                            15. The apparatus of claim 14 wherein the chosen number
            means for sequentially storing the received RTSs;                is 4.
                                                                                16. Apparatus for recovering, at a destination node of a
            means for counting derived network clock cycles modulo           packet-based telecommunications network, the timing clock
               2p;                                                        30
                                                                             of a service input at a source node of said network, wherein
            comparing means for comparing the modulo 2p count of             a common network clock or divided network clock is pro-
               derived network clock cycles with a stored RTS and for        vided for the destination node and the source node and a
               generating a pulse each time the count of derived             time interval is defined by a fixed rational number of
               network clock cycles matches the RTS; and                     source-node service clock cycles; the apparatus comprising:
            gating means for gating to said multiplying means, for 35           means for receiving generating a digital representation of
               each sequentially received and stored RTS, the pulse                a quantized difference between an actual number of
               produced by said comparing means that occurs after the              network clock cycles within the time interval and an
               counting means counts, starting-in-time from the pre-               expected number of network clock cycles within the
               vious gated pulse, a number of derived network clock                time interval, the difference being within a defined time
                                                                          40
               cycles that is greater than a predetermined minimum                 window corresponding to a frequency variation of the
               absolute number of derived network clock cycles that                source-node service clock; and
               can occur within any RTS period.                                 means for recovering the source-node service clock at the
            11. Apparatus for generating a representation of the                   destination node by constructing a timing signal at the
         relationship between the timing clock of a service input, at              destination node based on a received representation of
                                                                          45
         a source node of a packet-based telecommunications                        the network cycle difference.
         network, and a network clock, the apparatus comprising:                17. Apparatus for reconstructing, at a destination node of
            (a) means, at the source node, for defining a residual time      a packet-based telecommunications network, a timing clock
               stamp (RTS) period as an integral number N of source-         of a service input at a source node of the networ~ wherein
               node service clock cycles;
                                                                          50 a common network clock or divided network clock is pro-
            (b) means, at the source node, for defining a derived            vided for the destination node and the source node and
               network clock frequency f nx from a network frequency         wherein the reconstruction is based on successive modulo~
              fn where f nx•fn/x, xis a rational number, and f nx is less    numerical representations of the number of network clock
               than or equal to twice the service clock frequency;           cycles within corresponding successive predetermined time
            (c) means, at the source node, for counting the derived 55 periods, each of the numerical representations being
               network clock cycles modulo 16 in an RTS period and;          received from the source node and being less than the actual
            (d) means for transmitting from the source node an RTS           number of network clock cycles within its corresponding
               that is equal to the modulo 16 count of derived network       time period; the apparatus comprising:
               clock cycles in the RTS period.                                  means for receiving the numerical representations in
            12. Apparatus for recovering, at a destination node of a 60            succession at the destination node;
         packet-based telecommunications network, the timing clock              means for converting the received numerical representa-
         of a service input at a source node of the packet-based                   tions into successive fixed time intervals, wherein each
         telecommunications networ~ wherein the destination and                    successive interval corresponds to the number of net-
         source nodes have a common network clock divided network                  work clock cycles in a corresponding one of the pre-
         clock and wherein the service node generates a residual time 65           determined time periods; and
         stamp (RTS) signal equal to a modulo 16 count of cycles                means for recovering the source-node service clock from
         based on the network clock; the apparatus comprising:                     the fixed time intervals.
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                                                             Re. 36,633
                                 13                                                                 14
      18. The apparatus of claim 17) wherein the converting                generating a timing signal at the destination node corre-
    means further comprises:                                                  sponding to the source node service clock on the basis
      means for sequentially storing the successive modulo ~                  of the digital signal and a signal from the network
        numerical representations;                                            clock.
      means for comparing the successive numerical represen-               22. The method of claim 21 wherein the numerical devia-
        tations with a modulo 2P count of the network clock             tion is determined as a function of the fixed number of
        cycles at the destination node to generate a comparison         source-node service clock cycles) the frequencies of the
        signal for each match between the numerical represen-           network clock and the source-node service clock) and a
        tation and the modulo 2P count at the destination node·         frequency variation of the source-node service clock.
        and                                                   )      10    23. The method of claim 21 further including the step of
       means for successively selecting a proper comparison             employing a modulo~ counter to generate a representation
                                                                        of the numerical deviation.
         signal by waiting until a minimum number of network
                                                                           24. Apparatus for generating a signal at a source node for
         clock cycles has occurred.
                                                                        use in recovering a source-node service clock at a destina-
       19. A method for generating a signal at a source node for
                                                                     15 tion node in a packet-based telecommunications network
    use in recovering a source-node service clock at a destina-
                                                                        wherein a common network clock or divided network clock
    tion node in a packet-based telecommunications network
                                                                        is provided for the source and destination nodes)· the appa-
    wherein a common network clock or divided network clock
                                                                        ratus comprising:
    is provided for the source and destination nodes)· the steps
    of the method comprising:                                              means for defining a time interval by a fixed number of
                                                                     20       cycles of the source-node service clock;
       defining a time interval by a fixed number of cycles of the
         source-node service clock)·                                       means for determining a number of actual cycles of the
                                                                              network clock within the time interval)·
       determining an actual number of cycles of the network
         clock within the time interval;                                   means for determining a numerical deviation of the
                                                                              number of actual network clock cycles from another
       determining a numerical deviation of the number of 25
                                                                              number of network clock cycles that would occur within
         actual network clock cycles from another number of
                                                                              the time interval if the source-node clock frequency
         network clock cycles that would occur if the source-
                                                                              were nominal)· and
         node service clock frequency were nominal; and
                                                                           means for generating a digital signal representing the
       generating a digital signal representing the numerical
                                                                              numerical deviation for transmission through the net-
          deviation for transmission through the network to the 30
                                                                              work to the destination node.
          destination node.
                                                                           25. The apparatus of claim 24 wherein the numerical
       20. A method for recovering a source-node service clock
                                                                        deviation is determined as a function of the fixed number of
    at a destination node in a packet-based telecommunications
                                                                        source-node service clock cycles) and frequencies of the
    network) wherein a common network clock or divided net-
                                                                        network clock and the source-node service clock, and a
    work clock is provided for the source and destination nodes) 35
                                                                        nominal frequency of the source-node service clock.
    wherein an actual time interval is defined by a fixed number
                                                                           26. The apparatus of claim 24 wherein the numerical
    of cycles of the source-node service clock, and wherein a
                                                                        deviation determining means includes a modulo ~ counter
    number of actual cycles of the network clock within the
                                                                         which generates the numerical deviation.
    actual time interval and a numerical deviation of the number
                                                                           27. The apparatus of claim 26 wherein a value of 2P is 16.
    of actual network clock cycles from another number of 40
                                                                           28. Apparatus for recovering a source-node clock at a
    network clock cycles known nominally to be within the time
                                                                        destination node in a packet-based telecommunications
    interval are determined)· the steps of the method comprising:
                                                                        network) wherein a common network clock or divided net-
       receiving a digital signal representing the numerical            work clock is provided for the source and destination nodes
          deviation transmitted through the network from the            and wherein a time interval is defined by a fixed number of
         source node; and                                            45
                                                                        cycles of the source-node service clock) and wherein a
       generating a timing signal corresponding to the source-          number of actual cycles of the network clock within the time
         node service clock on the basis of the digital signal          interval and a numerical deviation of the number of actual
          representing the numerical deviation.                         network clock cycles from another number of network clock
       21. A method for recovering) at a destination node of a          cycles that would occur within the time if the source-node
    packet-based telecommunications network) a timing clock of 50 service clock frequency were nominal;
    a service input at a source node of the packet-based tele-             means for receiving a digital signal representing the
    communications network) wherein a common network clock                    numerical deviation transmitted through the network
    or divided network clock is provided for the destination node             from the source node)· and
    and the source node)· the steps of the method comprising:              means for generating a timing signal corresponding to the
                                                                     55
       defining a time interval by a fixed number of cycles of the            source-node service clock on the basis of the digital
          source-node service clock)·                                         signal representing the numerical deviation.
       determining an actual number of cycles of the network               29. Apparatus for recovering) at a destination node of a
          clock within the time interval)·                              packet-based telecommunications network) a timing clock of
       determining a numerical deviation of the number of 60 a service input at a source node of the packet-based tele-
          actual network clock cycles from another number of             communications network, wherein a common network clock
          network clock cycles that would occur within the time          or divided network clock is provided for the destination node
          interval if the source-node service clock frequency were      and the source node; the apparatus comprising:
          nominal;                                                         means for defining a time interval by a fixed number of
       generating a digital signal representing the numerical 65              cycles of the source-node service clock;
          deviation)·                                                      means for determining a number of actual cycles of the
       transmitting the digital signal to the destination node)· and          network-clock within the time interval)·
Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 40 of 44 PageID #: 7175



                                                              Re. 36,633
                                  15                                                                       16
        means for determining a numerical deviation of the                  interval for network cycle counting by the modulo 2!'
          number of actual network clock cycles from another                counter for counting the next time interval.
          number of network clock cycles that would occur within               33. A method for generating a representation of the
          the time interval if the source-node service clock fre-           relationship between the timing clock of a service input, at
          quency were nominal;                                              a source node of a packet-based telecommunications
        means for generating a digital signal representing the              network, and a network clock, the method comprising the
          numerical deviation;                                              steps of'
        means for transmitting the digital signal to the destination
                                                                               (a) defining, at the source node, a residual time stamp
          node; and
                                                                       10         (RTS) period as an integral number N of source-node
        means for generating a timing signal at the destination
                                                                                  service clock cycles,·
          node corresponding to the source-node service clock on
          the basis of the digital signal and a signal from the                (b) defining, at the source node, a derived network clock
          network clock.                                                          frequency fnx from a network frequency fn where fnx,.
        30. The apparatus of claim 29 wherein the numerical            15
                                                                                  fn/x, xis a rational number., and f nx is less than or equal
     deviation is determined as a function of the fixed number of                 to twice the service clock frequency,·
     source-node service clock cycles, frequencies of the network              (c) counting, at the source node, the derived network
     clock and the source-node service clock, and a nominal
                                                                                  clock cycles modulo 16 in an RTS period; and
     frequency of the source-node service clock.
        31. The apparatus of claim 29 wherein the numerical                    (d) transmitting from the source node an RTS that is equal
                                                                       10
     deviation determining means includes a modulo 2!' counter                    to the modulo 16 count of derived network clock cycles
     which generates the numerical deviation.                                     in the RTS period.
        32. The apparatus of claim 29 wherein means are pro-
     vided for carrying any fractional network cycle in any time                                    * * * * *
                   Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 41 of 44 PageID #: 7176
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                Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 42 of 44 PageID #: 7177

                ~)                                                               CIVIL COVER SHEET                                                                                                 ' 6
·-          ;ivil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provi.ded by local rules of court. This form, approved by the Judicial Conference. of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I.   (a)     PLAINTIFFS                                                                                          DEFENDANTS

            TELCORDIA TECHNOLOGIES,                                   INC.                                        CISCO          SYSTEMS,           INC.



     (b) County of Residence of First Listed Plaintiff - - - - - - - - - - - *                                     County of Residence of First Listed
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

 *       Plaintiff            is       a     Delaware            corporation.
                                                                                                                           LAND INVOLVED.

     (c)    Attorney' s (Firm Name, Address, and Telephone Number)                                                Attorneys (IfKnown)
           Steven J .          Balick
           Ashby      &
                   Geddes                                                                                         Unknown
           222 Delaware Avenue,                              17th Floor
           Wilmin        ton,      DE               19801                    (302)       654-1888
II. BASIS OF JURISDICTION                                  (Placean "X" inOneBoxOnly)             III. CITIZENSHIP OF PRINCIPAL PARTIES(Ptacean "X!S onelliiirorPiaintiff
                                                                                                       (For Diversity Cases Only)                        and on;Box for ®~t)
                                                                                                                                  DEF                           ~        :::~ c: DEF
0 I        U.S. Government                   rn:J    Federal Question                                  Citizen of This State    0 0 1 Incorporated or Principal f..mte ~:~'- _'" 0 4,
             Plaintiff                                 (U.S. Government Not a Party)                                                    of Business In This Sta~

0 2 U.S. Government                          04      Diversity                                        Citizen of Another State      0 2      02          Incorporated and Principal Place
             Defendant                                 (Indicate Citizenship of Parties                                                                    of Business In Another ~
                                                                                                                                                                                      ~
                                                       in Item III)
                                                                                                      Citizen or Subject of a       0 3      03          Foreign Nation
                                                                                                        Forei
IV. NATURE OF SUIT                              (Place an "X" in One Box Only)                                                                                                           r t?V
                                                                                                                                                                                   rn
     CONTRACT                                                         TORTS                           FORFEITURE/PENALTY                      BANKRUPTCY                        OTHER STATUTES
0    II 0 Insurance                           PERSONAL INJURY                PERSONAL INJURY          0   61 0 Agriculture             0 422 Appeal 28 USC 158            0    400 State Reapportionment
0    120 Marine                            0 310 Airplane                0 362 Personal Injury-       0   620 Other Food & Drug                                           0    410 Antitrust
0    130 Miller Act                        0 315 Airplane Product                 Med_ Malpractice    0   625 Drug Related Seizure     0 423 Withdrawal                   0    430 Banks and Banking
0    140 Negotiable Instrument                   Liability               0 365 Personal Injury-                of Property 21 USC              28 usc !57                 0    450 Corrunerce/ICC Rates/etc.
0    150 Recovery of Overpayment           0 320 Assault, Libel &              Product Liability      0   630 Liquor Laws                                                 0    460 Deportation
         & Enforcement of Judgment               Slander                 0 368 Asbestos Personal      0   640 R-R. & Truck                  PROPERTY RIGHTS               0    470 Racketeer Influenced and
0    !51 Medicare Act                      0 330 Federal Employers'            Injury Product         0   650 Airline Regs.
                                                                                                                                       0 820 Copyrights
                                                                                                                                                                                   Corrupt Organizations
0    !52 Recovery of Defaulted                   Liability                     Liability              0   660 Occupational                                                D    810 Selective Service
          Student Loans                    0 340 Marine                   PERSONAL PROPERTY                    Safety/Health
                                                                                                                                       Kl   830 Patent
                                                                                                                                                                          D    850 Securities/Commodities/
                                                                                                                                       0 840 Trademark
          (Exc!. Veterans)                 0 345 Marine Product          0 370 Other Fraud            0   690 Other                                                                Exchange
0    !53 Recovery of Overpayment                 Liability               0 371 Truth in Lending                                                                           0    875 Customer Challenge
           ofVeteran's Benefits            0 350 Motor Vehicle           0 380 Other Personal                   LABOR                       SOCIAL SECURITY                        12 usc 3410
0    160 Stockholders ' Suits              D 355 Motor Vehicle                 Property Damage
                                                                                                                                    0
                                                                                                                                                                          0    891 Agricultural Acts
0    I 90 Other Contract                         Product Liability       0 385 Property Damage        0   710 Fair Labor Standards   861 HIA (!395ft)
                                                                                                                                                                          0    892 Economic Stabilization Act
                                                                                                              Act                   0862 Black Lung (923)
D    19 5 Contract Product Liability       D 360 Other Personal Injury         Product Liability                                                                          0    893 Environmental Matters
                                                                                                      D   720 Labor/Mgmt. Relations 0863 DIWC/DIWW (405(g))
                                                                                                                                                                          0    894 Energy Allocation Act
         REAL PROPERTY                         CIVIL RIGHTS              PRISONER PETITIONS                                        0 864 SSID Title XVI
                                                                                                                                                                          0    895 Freedom of
                                                                                                      D   730 Labor/Mgmt.Reporting 0 865 RSI (405(g))
                                                                                                                                                                                   Information Act
0    210 Land Condemnation                 0 441 Voting                  0 510 Motions to Vacate              & Disc!osw-e Act
                                                                                                                                                                          0    900Appeal offee Determination
D    220 Forec!osw-e                       0 442 Employment                      Sentence             0   740 Railway Labor Act     FEDERAL TAX SUITS
                                                                                                                                                                                   Under Equal Access to
0    230 Rent Lease & Ejectment            0 443 Housing/                    Habeas Corpus:
                                                                                                                                       0 870 Taxes (U.S. Plaintiff                 Justice
0    240 Torts to Land                              Accommodations       0   530 General              0   790 Other Labor Litigation
                                                                                                                                               or Defendant)              0    950 Constitutionality of
0    245 Tort Product Liability            0 444 Welfare                 0   535 Death Penalty
                                                                                                                                                                                    State Statutes
D    290 All Other Real Property           D 440 Other Civil Rights      0   540 Mandamus & Other     0   791 Empl. Ret. Inc.
                                                                                                                                       0 87 I IRS-Third Party             0    890 Other Statutory Actions
                                                                         0   550 Civil Rights                 Security Act
                                                                                                                                               26 usc 7609
                                                                         D   555 Prison Condition
                           (PLACE AN "X" IN ONE BOX ONLY)                                                                                                                               Appeal to
V.       ORIGIN                                                                                                                 Transferred from                                        Dtstrict
                                                                                                                                another district                                        Judge from
~ 1        Original      0 2       Removed from               0 3      Remanded from           0 4    Reinstated or   0 5       (specify)                0 6   Multidistrict     0    7 Magistrate
           Proceeding              State Court                         Appellate Court                Reopened                                                 Litigation               Judgment
VI       CAUSE OF ACTION (Cite the I!·S: C.ivi~ S~te under which yo~ are. filing and write brief statement of cause.
     •                     Do not c1te JunSdlctlonal statutes unless diversity.)
         This i s an action under the - patent laws of the United States,                                                                          35       U.S.C.        §§     1-376.


VII. REQUESTED IN                               0    CHECK IF THIS IS A CLASS ACTION DEMAND S                                                      CHECK YES only if demanded in complaint:
          COMPLAINT:                                 UNDERF.R.C.P. 23 monetary and injunctive                                     relief           JURYDEMAND:                   XIYes       ONo
                                                     (See                SEE ATTACHED                SHEET
VIII. RELATED CASE(S)                                instructions):
            IF ANY                                                                                                                          DOCKET
                                                                         JUDGE
                                                                                                                                            NUMBER
DATE
             July       16,     2004
FOR OFFICE USE ONLY
                                                                                                                        JUDGE _ _ _ _ _ __                     MAG.nJDGE _ _ _ _ _ _ _ __
    RECEIPT # - - - - - AMOUNT-- - - - - -                                       APPLYING IFP - - - - - - -
                          •                                          •
Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 43 of 44 PageID #: 7178




                         ATTACHMENTTOCnnLCOVERSHEET
                              VIII. RELATED CASES



Telcordia Technologies, Inc. v. Alcatel S.A. and Alcatel USA, Inc.       Filed July 16, 2004
                   ~~~ OZ( ·- 8l lf
Telcordia Technologies, Inc. v. Lucent Technologies, Inc.                Filed July 16, 2004
                  cv     o'(-87S
Bell Communications Research, Inc. v. Fore Systems Inc. ,                Closed
       C.A. No. 98-586-JJF

 Telcordia Technologies, Inc. v. Fore Systems Inc. ,                     Closed
        C.A. No . 99-357-JJF
        Case 1:04-cv-00876-GMS Document 1 Filed 07/16/04 Page 44 of 44 PageID #: 7179
                                                                                  e


                          UNITED STATES DISTRICT COUWJ
- - - - - - - - - - - - - - District of                                D LA WARE
                                                        NOTICE, CONSENT, AND ORDER OF REFERENCE -
              Plaintiff                                 EXERCISE OF JURISDICTION BY A UNITED STATES
                                                        MAGISTRATE JUDGE
                 v.
                                                        Case Number:   ~~   4 -   876
              Defendant




                           RECEIPT FOR
       NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE
                  JUDGE TO EXERCISE JURISDICTION




     I HEREBY ACKNOWLEDGE RECEIPT OF AO FORM 85-(NOTICE,
     CONSENT, AND ORDER OF REFERENCE- EXERCISE OF
     JURISDIGTION BY A UNITED STATES MAGISTRATE JUDGE)




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